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__________________________________________
                                          )
IN RE NEURONTIN MARKETING AND             )                 MDL Docket No. 1629
SALES PRACTICES LITIGATION                )
__________________________________________)                 Master File No. 04-10981
                                          )
THIS DOCUMENT RELATES TO:                 )
ALL ACTIONS                               )                 Judge Patti B. Saris
__________________________________________)

               DECLARATION OF THOMAS M. SOBOL IN SUPPORT OF
              APPOINTMENT TO PLAINTIFFS’ STEERING COMMITTEE

I, Thomas M. Sobol, depose and state as follows:

   1.      I am managing partner at the law firm of Hagens Berman LLP. I have extensive

experience in prosecuting and litigating complex litigation. I have full knowledge of the matters

stated herein and would testify thereto.

   2.      Our firm has extensive experience prosecuting class actions. Attached hereto as

Exhibit A is the firms résumé. Our experience includes the following relevant matters:

           a. We have been appointed or acted as lead counsel or co-lead counsel in numerous

               nationwide, complex commercial class actions as set forth in our firm résumé.

           b. We have also been appointed or acted as liaison counsel, lead counsel or co-lead

               counsel in numerous class actions involving pharmaceutical marketing and sales

               practices, including, but not limited to: In Re: Pharmaceutical Industry Average

               Wholesale Price Litigation (MDL No. 1456), In Re: Lupron® Marketing And

               Sales Practices Litigation (MDL 1430), In Re Relafen® Antitrust Litigation, (D.

               MA) Master File No. 01-CV-12239-WGY, In Re Neurontin® Antitrust Litigation

               (MDL 1479), In Re: Wellbutrin® Sr/Zyban® Antitrust Litigation ( E.D. PA)

               Master File No. 02-CV-4398, The Stop & Shop Supermarket Company at al. v.

               Smithkline Beecham Corporation (E.D. PA) Master Docket No. 03-4578, and



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               American Federation Of State, County And Municipal Employees, AFL-CIO et al. v.

               Glaxosmithkline plc, et al (E.D. VA) Master Docket No. 2:02cv442.


    3.     Our firm began investigating the claims raised in this litigation, and other potential

causes of action that could be raised, well before this litigation commenced, including

researching publicly available documents and applicable law to develop theories of liability,

meeting with persons knowledgeable in pharmaceutical marketing and sales practices, and

interviewing clients.

    4.     Our firm represents individuals, grass roots consumer organizations, third party

payors and Attorneys General in class actions involving claims against pharmaceutical

companies for marketing and sales policies. Thus, our firm has experience with such the issues

that arise in discovery, class certification and trial of cases involving pharmaceutical pricing.

    5.     Our firm is committed and has demonstrated its commitment to expend whatever

resources are necessary–of time, personnel, and money–to prosecute this action and represent the

class.

    I declare under penalty of perjury that the foregoing is true and correct.



    Dated: December 15, 2004                           /s/ Thomas M. Sobol
                                                      _______________________________
                                                       Thomas M. Sobol, Esq.




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            The Firm
            Hagens Berman LLP was founded in 1993 and now has offices in
            Boston, Chicago, Los Angeles, Phoenix and Seattle. The firm pur-
            sues the type of law that its lawyers have a passion for – represent-
            ing plaintiffs in class actions and multi-party, large-scale complex
            litigation – and in particular engaging in cases that have the potential
            for having a positive impact on protecting the rights of investors,
            consumers, workers and the environment.
            Since its founding, Hagens Berman has concentrated its practice in the fields of class action and
            multi-plaintiff litigation and has become one of the premier firms in the country in these fields, with
            cases throughout the nation and an international reputation. The firm focuses on representing plain-
            tiffs in securities, investment fraud, product liability, tort, antitrust, consumer fraud, employment,
            environmental and ERISA cases. The firm has become particularly adept at managing multi-state and
            nationwide class actions through an organized, coordinated approach that implements an efficient and
            aggressive prosecutorial strategy in order to place maximum pressure on the defendant or defendants.

            In recent years, the firm expanded its practice to include representing governmental entities including
            actions against the tobacco industry. In the groundbreaking state tobacco litigation, the firm repre-
            sented the states of Alaska, Arizona, Idaho, Illinois, Indiana, Montana, Nevada, New York, Ohio,
            Oregon, Rhode Island, Vermont and Washington as special assistant attorneys general in their law
            enforcement actions against the tobacco industry. The firm has served as court-appointed lead/class
            counsel in state and federal litigation in states throughout the country, with a particularly heavy
            caseload in Arizona, California, Idaho, Illinois, New York, Oregon, and Washington. Hagens
            Berman’s lawyers have played lead and/or major roles in cases that have resulted in cumulative
            recoveries in excess of $260 billion.

            In 2002, the firm opened an office in Boston, expanding the firm’s reach across the nation, and in
            2004 added an office in Chicago. The Boston office has become a hub for Hagens Berman’s
            representation of states and private parties in actions against major pharmaceutical companies, and
            establishes the firm as a clear leader in the battle for more affordable prescription drugs and a more
            responsible pharmaceutical industry.




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                                  The Practice
                                  AN OVERVIEW OF CURRENT LITIGATION *
                                  ANTITRUST LITIGATION . Hagens Berman works to keep marketplaces free of price fixing and
                                  collusion, protecting the availability of high quality, low priced goods. The firm’s antitrust practice
                                  includes nationally certified class actions against manufacturers of disposable contact lenses and a
                                  high-profile case in which the Justice Department has commenced parallel proceedings challenging
                                  the charges imposed by Visa and MasterCard in connection with use of the debit card.

                                  Hagens Berman was pleased to run all discovery directed to one of the major defendants in In Re
                                  Linerboard Antitrust Litigation. This unique antitrust case premised, in part, on an exception to the
                                  Illinois Brick direct purchaser requirements, resulted in a $202 million settlement. This settlement is
                                  the sixth largest antitrust settlement ever reported.

                                  Microsoft recently honored the firm by selecting Hagens Berman to represent the company in
                                  antitrust litigation. The firm currently assists as national counsel in more than 100 class actions
                                  currently faced by the company.

                                  The firm currently is prosecuting a price manipulation case against BP Amoco (BP) alleging that BP
                                  has artificially and unlawfully manipulated the price of gasoline in the state of California. In another
                                  major antitrust action the firm has been named lead trial counsel in the case of Information Re-
                                  sources, Inc. v. A.C. Nielsen where the damages when trebled exceed $1 billion. The firm replaced
                                  well-known litigator David Boers.

                                  CIVIL RIGHTS . Hagens Berman actively seeks out complex civil rights cases, taking on the role
                                  of advocate for a variety of individuals and organizations. The firm vigilantly keeps abreast of new
                                  state and national legislation that allows it to better represent its clients, including diverse communi-
                                  ties such as World War II prisoners of war and conscripted civilians.

                                  Currently, Hagens Berman leads a team of lawyers in the Gold Train case. The firm’s involvement
                                  follows from its representation of former forced and enslaved laborers for German companies in the
                                  Nazi Slave Labor Litigation.

                                  In conjunction with the Trial Lawyers for Public Justice, Hagens Berman recently won a settlement
                                  from city officials after filing a class action claiming violation of the First and Fourth Amendments.
                                  Tens of thousands of Seattle citizens became targets during their peaceful protest of the WTO
                                  convention on December 1, 1999. After Seattle officials banned any form of peaceful protest, Seattle
                                  police attacked anyone found in the designated “no protest” zones with rubber bullets and tear gas,
                                  arresting and incarcerating city residents for three to four days.

Riot Police Douse Peaceful
Protesters with Pepper Spray
Riot Police Confront Protestors
on Downtown Seattle Streets




                                  *
                                      In alphabetical order.




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                                 CONSUMER LITIGATION. Using large-scale litigation to pressure defendants who defraud or
                                 take advantage of customers, Hagens Berman pursues opportunities to confront deceptive advertis-
                                 ing practices, financing and insurance scams, and redlining practices, among other consumer fraud
                                 techniques. Consumer litigation remains one of the firm’s largest practice areas, with attorneys
                                 representing millions of consumers in numerous actions.

                                 DRUG LITIGATION. The firm actively engages in litigation that improves the quality of health
                                 products and medical systems, and confronts unscrupulous medical distributors and producers of
                                 products such as pharmaceutical drugs, herbal supplements and beauty products. Hagens Berman
                                 frequently partners with consumer interest and senior organizations to challenge false advertising,
                                 pricing schemes, and other drug fraud activities.

                                 Recent successes include reaching a settlement on behalf of all diet drug users in Montana and
                                 exerting landmark pressure on Abbott Laboratories causing them to send a letter warning laborato-
                                 ries about the risks of false positives in their tests for hCG. Hagens Berman represents several
                                 plaintiffs in important litigation against Abbott after false positives erroneously diagnosed plaintiffs
                                 with cancer leading to unnecessary treatment including, in some cases, hysterectomies. In 2003, the
                                 firm settled a case against Rexall representing thousands of women who purchased their cellulite-
                                 fighting product “Cellasene.” The plaintiffs alleged that the product didn’t work, and Hagens Ber-
                                 man filed the first case in the nation challenging Cellasene marketing. The FTC filed a similar
                                 action against Rexall.

                                 EMPLOYMENT LITIGATION. Hagens Berman takes a special interest in protecting workers
                                 from exploitation, and seeks out cases with potential for ending the largest and most heinous worker
                                 abuses. Since employees often lack the individual power to bring about meaningful change in the
                                 workplace, the firm typically represents classes of employees in litigation suits including race
                                 discrimination, immigrant worker controversy, hour and wage issues, on-the-job injury settlements
                                 and other crucial workplace issues.

                                 Hagens Berman represents female workers at Boeing facilities in Tulsa, California and other
                                 locations challenging disparities in pay and promotion. The firm also filed a proposed class action on
                                 behalf of resident alien workers who claim that the use of illegal workers has unlawfully depressed
                                 their wages. Other wage and hour class actions include cases on behalf of workers who were not
                                 properly paid for overtime, including a certified class of Denny’s employees, and on behalf of
                                 employees of General Electric Aircraft alleging wage and hour violations.

                                 Hagens Berman is currently lead counsel representing African-American workers at Boeing facili-
                                 ties nationwide, in a suit alleging racial discrimination in promotions, compensation, job assign-
                                 ments, management positions, training, overtime, retention ratings, bonuses and other benefits of
                                 employment.

                                 ENVIRONMENTAL LITIGATION. Believing that protecting and repairing our ecosystem from
                                 irresponsible use is some of the most rewarding work a law firm can do, the firm frequently repre-
                                 sents homeowners and landowners injured by environmental abuses. The firm has handled a variety
                                 of landmark environmental litigation cases in the Northwest and internationally, using relationships
                                 with top-notch environmental experts to develop compelling arguments.

                                 In a recent high-profile case, the firm successfully pursued a class action on the adverse environ-
Washington State Ferry Chinook
                                 mental impacts of fast ferry service in Washington state. The settlement brought relief to the class
                                 members and slowed ferry vessels when traveling in sensitive areas. In other litigation, the firm
                                 represented plaintiffs in a case against Kerr-McGee, on behalf of thousands of persons exposed to
                                 radioactive material in a residential area in West Chicago, Illinois.




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            The firm’s Arizona office represented the Sierra Club in a case challenging the U.S. Forest Service’s
            approval of a commercial shopping center on the edge of the Grand Canyon. The District Court
            granted the firm’s request to enjoin development of the shopping mall, protecting the Grand Canyon
            from overdevelopment.

            ERISA LITIGATION. The federal Employee Retirement Income Security Act (ERISA) spells out
            the fiduciary duties that plan trustees owe to participants and beneficiaries in retirement programs
            such as stock options or 401(k) plans, along with guidelines on disability, medical insurance, and
            severance pay.
            Hagens Berman specializes in recovering pension and retirement funds lost due to imprudent
            direction by plan directors, as well as safeguarding the rights of plan participants. Courts have
            recognized Hagens Berman’s aptitude in handling large ERISA cases, most recently appointing the
            firm co-lead counsel in the Enron employee litigation. The firm is also litigating ERISA cases on
            behalf of employees of IPALCO, UAL and Montana Power.

            The firm pioneered the discovery of fraud in discounts to employee health plans, representing
            thousands of Blue Cross health insurance plan participants in 10 states who allege that the insurer
            overcharges participants, obtaining discounts from hospitals but not passing that savings along when
            calculating co-payments.
            The firm’s discovery led to a Congressional inquiry concerning the company’s billing practices.
            Hagens Berman also represents plaintiffs in a proposed class action against Regence, breaking new
            ground in the coverage of contraceptives by health insurance plans.

            INSTITUTIONAL INVESTOR LITIGATION. Hagens Berman provides specialized securities
            litigation services to public, private and Taft-Hartley pension funds, offering its proprietary and
            unparalleled asset protection and recovery services to both foreign and domestic institutions. By
            giving clients the ability to identify, investigate and react to potential wrongdoing by companies in
            which they invest, the firm enables them to be proactive, not merely reactive. Currently, the firm
            represents the State of Ohio in the Exxon Mobil Securities Litigation, and a major pension fund in
            the JP Morgan Securities Litigation.

            Recent class actions led by Hagens Berman obtained significant settlements. In the Morrison
            Knudsen case, the firm secured a settlement of approximately 60 percent of the largest estimates of
            possible losses for class members, while in the Oppenheimer Delta Partners Litigation the class
            was awarded settlements of approximately 80 percent of possible losses. In the Midisoft case,
            Hagens Berman obtained more than 50 percent of total damages. Numerous other recent cases such
            as Waste Management and Cendant have obtained hundreds of millions of dollars in settlements
            and recovered a large percentage of damages for injured shareholders.

            PRODUCT LIABILITY LITIGATION. When a product fails to meet accepted or advertised
            standards, the results can be hazardous or even deadly. In such cases, consumers deserve a right to
            redress. Hagens Berman’s product liability practice represents consumers in variety of product
            cases including automobile defects, home equipment and defective software.
            Firm successes include a settlement involving Louisiana-Pacific Siding in which more than 130,000
            claims have been paid exceeding $500 million and a $925 million settlement in a polybutylene piping
            case. Hagens Berman also represents plaintiffs alleging defects in trunk release mechanisms in a
            case surrounding the death of four children who died locked in the trunk of a car. The firm continues
            to pursue Ford and Nissan on behalf of consumers with defective accelerators.

            SECURITIES LITIGATION. A cornerstone of the firm’s practice, Hagens Berman contests
            securities fraud in courts across the nation. To prosecute these complex cases, the firm uses highly



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             experienced experts in a variety of fields as an integral part of the prosecution team, expanding the
             group’s expertise in sophisticated financial and accounting issues.
             In a high-profile case, Hagens Berman pursued Boeing after a tremendous stock loss resulted from
             the company allegedly conspiring to conceal production problems and bolster share prices through
             the conclusion of a stock-swap purchase of McDonnell Douglas. After several years of intense
             discovery and litigation, Boeing eventually agreed to a settlement that provided more than $92
             million to recoup investors for their losses.

             The firm has also acted as co-lead counsel and plaintiffs’ counsel representing investors in class
             actions for securities violations against a variety of corporations including WPPSS, Boston Chicken,
             Oppenheimer, PriceCostco, MK Rail, Bonneville Pacific, Mercer International, and Omega
             Environmental.

             PERSONAL INJURY LITIGATION. Committed to justice and appropriate compensation in issues
             of personal injury and wrongful death, the firm assists clients in a range of personal injury litigation.
             Hagens Berman knows that the health and quality of life of our clients hangs in the balance of the
             firm’s work and has developed an exceptional track record in obtaining significant settlements and
             awards for the firm’s clients.

             Cases include Latex Glove Product Liability Litigation after nurses and other healthcare providers
             developed disabling chemical reactions to latex gloves as a result of continuously wearing them on
             the job, and claims against a nursing home where a drug-addicted worker deprived residents of
             needed pain medications, appropriating the medications for herself. Our lawyers recently obtained a
             seven figure verdict for a client’s permanent injury after logs fell off a truck on its way to a mill,
             crushing his car with him in it. Recently we reached a multi-million dollar settlement on behalf of a
             dentist who was brain injured as a result of medical malpractice.

             SPECIAL CIRCUMSTANCES LITIGATION. Certain significant Hagens Berman cases fail to
             fall within an overarching practice area but are substantial enough cases in themselves to represent an
             independent type of litigation. Special circumstances litigation includes cases ranging from inflated
             interest rates to slave labor, from illegal arrests to money laundering. Specific examples of special
             circumstances litigation are listed below:
                    ANHEUSER BUSCH/MILLER BREWING. The firm represents the family of Casey
                     Goodwin, a 20-year-old girl killed by an underage drunk driver, in a suit alleging that An-
                     heuser-Busch and Miller Brewing both promote lemonade- and cola-like ‘alcopops’ with
                     flashy youth targeted ads, promoting and facilitating underage drinking with reckless disre-
                     gard for human life and the well-being of the public.
                    SWISS BANK LITIGATION. During World War II, Nazis confiscated property and money
                     from holocaust victims, depositing the money and goods into Swiss banks. Hagens Berman
                     represented holocaust victims who were victims of this theft, as well as those whose property
                     was confiscated after directly depositing property into the bank. One of the largest money
                     laundering schemes in history; the firm seeks damages and redress for the class.

             WHISTEBLOWER LITIGATION. Hagens Berman represents “whistleblowers” in a variety of
             industries with a significant number of cases involving clients using the False Claims Act to recover
             damages suffered by the federal government. Current cases include actions involving fraudulent
             Medicare billing, defense contractor fraud and distinctive theft cases.




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             Case Developments
             AVERAGE WHOLESALE PRICE DRUG LITIGATION.                       Hagens Berman represents plaintiffs
             in cases against drug manufacturers misrepresenting the prices paid to them for pharmaceuticals by
             physicians and pharmacies, thus reaping billions of dollars of profit at the expense of American
             consumers, including state Medicaid programs.

             Recently appointed lead counsel in a proposed nationwide class action also focusing on abuse of
             AWP, Steve Berman and Tom Sobol now lead the case against pharmaceutical company defendants
             throughout the United States.

             BP AMOCO CALIFORNIA ANTITRUST LITIGATION. Hagens Berman filed this case in
             California charging BP Amoco with illegally restricting the supply of crude oil on the West Coast
             resulting in artificially increased gasoline prices in California.

             BURLINGTON NORTHERN HEARING LOSS LITIGATION. The firm represents a potential
             class of 4,000 railroad workers who settled hearing loss claims with Burlington Northern. The
             complaint alleges that the settlements obtained by these workers were the result of a secret and illegal
             deal that the railroad reached with the law firm representing the workers.
             The Ninth Circuit Court of Appeals recently denied efforts by defendants Burlington Northern
             Santa Fe Railway Company (NYSE:BNI) and a Portland, Ore-based law firm to appeal key rulings.
             The court has denied all summary judgment motions.

             DAIMLERCHRYSLER LENDING DISCRIMINATION.                           Hagens Berman represents customers
             who were rejected financing in a proposed class action lawsuit accusing DaimlerChrysler’s financing
             subsidiary, Chrysler Financial Company, of denying credit to customers in the Chicago area based on
             race. The suit claims Chrysler management systematically and intentionally denied vehicle financing
             to creditworthy minorities in two Chicago neighborhoods, based on the neighborhood in which they
             lived and the dealerships from which they selected to purchase their cars. The suit also contends that
             the practice continues today in the Chicago area and Chrysler's Illinois sales zone. Filed in U.S.
             District Court in Illinois, the suit seeks to represent all people of color in Chrysler's Illinois sales zone
             who have been denied financing from Chrysler despite their creditworthiness. The suit names
             DaimlerChrysler Services North America, LLC, d/b/a Chrysler Financial Company, LLC, a wholly
             owned subsidiary and captive financing arm of DaimlerChrysler, as the defendant. The suit describes
             meetings between Chrysler and its dealerships in which Chrysler executives disclosed - using shock-
             ing and disturbing racist slurs and derogatory comments - that Chrysler did not want to finance car
             purchases by blacks, claiming they are inherently higher credit risks. Recently unsealed depositions
             from Chrysler executives in the case provide strong evidence that top Chrysler executives often used
             racial slurs and derogatory remarks, and held racist attitudes that may have weighed in their decisions
             to finance cars. According to the suit, Chrysler uses an automated computer program called the ACE
             (Automated Credit Evaluation) System, which is designed to give colorblind, objective credit evalua-
             tions to customers applying for financing from Chrysler. However, the complaint argues that Chrys-
             ler modified the ACE System software with a “disabling switch” that rerouted all applications from
             particular dealerships for subjective review by an employee at Chrysler Regional Headquarters. The
             suit cites two dealerships in which virtually every credit application submitted by a black customer
             was denied financing regardless of credit scores. The two dealerships have also filed suit against
             Chrysler, claiming racial discrimination against customers, breached contracts and forced agreements
             brokered by Chrysler zone managers resulted in severe financial losses. The class-action suit seeks
             damages related to civil rights violations and the paying of higher interest rates by plaintiffs, as well
             as punitive damages to deter the company from discriminatory conduct.



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             DRAM ANTITRUST LITIGATION.              Hagens Berman has been appointed co-lead counsel in a
             suit on behalf of purchasers of DRAM (Dynamic Random Access Memory) from Micron Technol-
             ogy, Crucial Technologies, Infineon Technologies, Hynix Semiconductor Inc and Samsung Electron-
             ics, claiming the companies secretly agreed to reduce supply of DRAM in order to artificially raise
             prices. According to the suit, the companies conduct caused Michael Dell, founder and CEO of Dell
             Computers, to state during a news conference, “I think we saw cartel-like behavior by a couple of
             DRAM suppliers.” The proposed class action seeks to represent all persons who purchased DRAM
             from the defendant companies from December 1, 2001 through June 18, 2002.

             ELECTRIC RATE PAYER LITIGATION. Hagens Berman has filed suit against several major
             electric power companies on behalf of Snohomish PUD, the largest public utility district in Wash-
             ington, claiming the companies conspired to drive up electricity prices during last year’s power crisis.
             The defendants include: Williams Electric Marketing, Mirant Corporation, Reliant Energy
             Services, Duke Energy Trading, Dynegy Power Marketing and Sempra Energy Resources. The
             suit seeks to force the defendant power companies to return profits wrongfully amassed since January
             2001.

             ENRON EMPLOYEE LITIGATION. The firm has been appointed co-lead counsel in the Enron
             case on behalf of 24,000 employees against defendants including, but not limited to, the Enron
             company, J.P. Morgan Chase & Co, Credit Suisse First Boston Corporation, CitiGroup, Arthur
             Anderson, LLP, and law firm Vinson & Elkins. A complaint amended in 2002 expanded the initial
             case alleging that the investment bankers and attorneys failed in their obligation to review the finan-
             cial statements and legal status of Enron and were thus active participants in creating Enron’s
             illusion of profitability. The concealing of Enron’s true financial condition enabled Enron, its top
             executives and the other defendants to profit at the expense of employees who continued to invest in
             the company through the retirement and savings plans.

             EXXON MOBIL SECURITIES LITIGATION.               The merger of Exxon-Mobil created the largest
             corporation in history. Hagens Berman is representing Ohio Public Employees Retirement
             System and State Teachers Retirement System in challenging the disclosures made by Exxon in
             connection with this merger.

             GRASS SEED LITIGATION. Hagens Berman filed a class-action suit on behalf of a group of
             Idaho residents against the state’s grass-burning policy, claming the practice endangers the health of
             thousands, especially those with respiratory conditions. The suit calls for an immediate end to grass
             burning and alleges that Idaho’s burn policy, which allows grass-seed farmers to burn in excess of
             20,000 acres every year, lags far behind other states - including neighboring Washington - which
             have effectively outlawed grass burning altogether.

             Idaho State Court recently ruled that a state law giving Idaho grass-growers broad exemption
             from trespass and nuisance laws during field burning is unconstitutional. The law, passed in the
             last session of the Idaho state legislature, was part of a long-fought legal battle between grass
             growers and a group of individuals who suffer significant health effects from the smoke due to
             respiratory conditions. That ruling has now been overturned by the Idaho Supreme Court.
             IPALCO LITIGATION. The firm has brought a proposed class action against Ipalco Enterprises,
             an Indiana electric utility, and in particular Ipalco officers, alleging that the defendants breached
             their fiduciary duties under ERISA by investing most of the plan’s assets in Ipalco stock while
             agreeing to a takeover by AES, wiping 90 percent off the value of the stock. Locked in and prevented
             from changing their options, plan members lost their assets while the officers dumped their own
             holdings prior to the takeover and the plummeting of the share price. In addition, the structure of the
             takeover agreement granted the same officers huge “termination benefits” totaling more than $46
             million.


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             JP MORGAN CHASE SECURITIES LITIGATION. This litigation seeks to recover losses
             incurred by investors in JP Morgan stock as the result of its exposure to liability for its lending
             activities with Enron. Several major banking institutions, including Citigroup and JP Morgan,
             helped precipitate the Enron debacle, and the suit alleges JP Morgan helped disguise transactions
             with Enron, treating loans as commodity transactions. Hagens Berman LLP is representing the
             ECA and Local 134 IBEW Joint Pension Trust of Chicago as the lead plaintiff, and the firm was
             recently appointed co-lead counsel in the case.

             IN RE METROPOLITAN SECURITIES LITIGATION. In a securities fraud class action filed in
             Washington state, Hagens Berman represents thousands of investors throughout the western United
             States who purchased debt and equity offerings from two related companies, Metropolitan Invest-
             ment Securities Company, Inc. and Summit Securities, Inc. Hagens Berman is pursuing their
             former directors and accountants to recover losses stemming from an alleged Ponzi scheme and
             accounting fraud that decimated investors’ holdings and plunged both companies into bankruptcy.

             NCAA ANTITRUST LITIGATION. Hagens Berman represents former walk-on college football
             players who were denied athletic scholarships because the NCAA illegally limits the number of
             scholarships that Division I-A schools can give. Although major college football programs routinely
             field squads of 115 or more football players, as a group the schools have agreed, through the NCAA,
             to provide scholarships to only 85 of those players. At the same time, the schools and the NCAA
             earn hundreds of millions of dollars annually from big time college football. Walk-on players work
             as hard and contribute as much to the success of their team as do “scholarship” players, but they
             often leave school deep in debt from student loans. On behalf of those players, Hagens Berman is
             pursuing antitrust claims against the NCAA.

             REGENCE CONTRACEPTIVE COVERAGE LITIGATION. The firm represents employees and
             employers covered by Regence in a lawsuit claiming that the denial of coverage for prescribed
             contraceptives violates state and federal law.

             RIO TINTO/BOUGAINVILLE LITIGATION. In the Rio Tinto litigation, Hagens Berman
             represents a proposed class of citizens of the Island of Bougainville. Rio operated the world’s largest
             copper mine and dumped billions of tons of mine waste on the island. The extent of the pollution
             sparked an armed revolt to occupy the mine, shut it down and launched a ten-year war resulting in the
             death or injury of thousands. The complaint alleges that Rio’s conduct in polluting the land, injuring
             the people and in inciting and/or participating in the conflict, violated international law.

             UAL ERISA LITIGATION. The original complaint, filed February 28, 2003, represents a class of
             UAL employees, seeking to recover approximately $2 billion dollars in losses they suffered when
             United Airlines stock declined as the company descended into bankruptcy. The most significant
             change in the amended complaint is the addition of State Street Bank and Trust Company (State
             Street) as a defendant. The amended complaint claims that State Street breached its fiduciary duties
             as trustee of the ESOP. The ESOP committee and its members remain defendants, although their
             liability is limited to coverage provided under any available insurance policy or policies.
             Based on newly obtained documents including the ESOP Committee meeting minutes, the amended
             complaint alleges the following:

                 •    State Street served as the Trustee to the ESOP, and had fiduciary obligations to the ESOP
                      participants under ERISA.

                 •    “As of the beginning of the Class period [July of 2001], UAL faced imminent bankruptcy;
                      yet, although State Street attended every meeting of the ESOP Committee, State Street
                      never questioned the actions of the ESOP Committee until August 20, 2002. By this time
                      UAL stock had lost most of its value.”


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                 •    “Even after placing UAL stock on its ‘watch list’ in February of 2002 due to the Company's
                      precarious state and the risk of bankruptcy, State Street continued to hold and acquire UAL
                      stock and did not question the Committee Members’ inaction or even inform the Committee
                      that State Street had placed UAL stock on the watch list and that ERISA mandated an ob-
                      jective assessment as to the continued prudence of maintaining all of the Plan's assets in
                      UAL stock.”

                 •    “Significantly, once State Street belatedly informed [ESOP] Committee Members as to the
                      scope of their duties under ERISA and informed them that ERISA required that the Plan re-
                      quirement of 100% investment in UAL stock must be disregarded when such holdings be-
                      came imprudent, the Committee Members were quick to appoint State Street as Investment
                      Manager. As State Street recognized, it was at all times under a duty to monitor the pru-
                      dence of UAL stock as an investment, and to override any orders to buy or hold UAL stock
                      if such order was itself disloyal, imprudent, or otherwise inconsistent with ERISA.
                      Throughout the Class Period, all orders to buy or hold UAL stock were imprudent and con-
                      trary to ERISA and should have been overridden by State Street.”

                 •    “Regardless of the wording of the ESOP documents, all Defendants were bound by their
                      duties of prudence and loyalty to disregard the Plan's requirements when, as here, following
                      the Plan’s requirements was itself disloyal and imprudent. Regardless of any terms of the
                      Plan, all Defendants had a duty under 29 U.S.C. § 1104(a)(D) to: (1) cease making pur-
                      chases of Company stock in the ESOP, and (2) sell all or large portions of the Company
                      stock that was then in the ESOP.”

             VISA/MASTERCARD ANTITRUST LITIGATION. Hagens Berman filed suit against credit
             card giants VISA and MasterCard on behalf of retailers, challenging charges the companies im-
             posed in connection with use of debit cards. Hagens Berman attorney George Sampson served as
             co-lead counsel in this matter, and helped direct all the lawyers working on the case by setting
             strategy and providing oversight on all matters.
             Visa and MasterCard recently reached a $3 billion settlement in the suit, and agreed to stop requir-
             ing retailers to accept both their credit and debit cards, lowering their transaction fees by about $1
             billion per year.




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             Hagens Berman vs. Big Tobacco
             Hagens Berman played a major role in representing state govern-
             ment in litigation against the tobacco industry. Because of the un-
             precedented nature of this litigation, Hagens Berman’s role and
             approach is detailed here.
             A TRIAL-HARDENED LITIGATION TEAM. In the State Attorneys General actions, only two
             states actually took their cases to trial: Washington and Minnesota. This means that in a government
             tobacco law enforcement and medical cost recovery action, only two private firms in the entire
             country have trial experience against the industry – Hagens Berman is one of those firms. In the
             Washington case, Steve Berman was co-lead trial counsel. In this role at trial, he participated in voir
             dire, delivered the majority of the State’s opening statement and presented witnesses, two of whom
             would become the most important witnesses in the liability phase of the case (Dr. Jack Henningfield,
             an expert on cigarette design, and Dr. William Farone, former director of research for Philip Morris).
             Steve also chaired major strategic decisions, and the firm assisted in the preparation of other wit-
             nesses presented by the State’s other trial lawyers in the case.

             AN EMPHASIS ON LAW ENFORCEMENT. Hagens Berman was instrumental in developing
             what came to be accepted as the predominant legal tactic to use against the tobacco industry; to wit,
             emphasizing traditional law enforcement claims such as state consumer protection, antitrust and
             racketeering laws. Before Hagens Berman’s involvement in the state cases, the predominant claims
             being pursued by most of the states were traditional tort claims, which would prove in many subse-
             quent states to be unsuccessful. With the exception of the Idaho case, not a single court in a case
             where Hagens Berman served as private counsel to a state dismissed a state’s consumer protection
             or antitrust claims. In three states – Arizona, Ohio and Oregon – Hagens Berman took the lead in
             pressing the respective states’ racketeering statutes and, as a result, the tobacco defendants were
             faced with the very real prospect of a profits disgorgement remedy, penalties and, in the case of Ohio,
             the payment of double damages.

             EXCELLENT WITNESS RAPPORT. One of the keys to beating the tobacco industry lies with
             presenting the proper witnesses, both expert and lay witnesses. With so many states in litigation
             against the industry, the time and resources of many of the important expert witnesses were taxed.
             As a result, several witnesses decided to limit their involvement to a small number of states. We
             found that some of these witnesses most approved of the manner in which Hagens Berman assisted
             in the preparation and presentation of their testimony, with the result that Hagens Berman, and the
             states with which the firm worked, became priority clients.

             LEGAL RESEARCH AND BRIEFING. With the emphasis on law enforcement claims, Hagens
             Berman attorneys built on their already considerable experience utilizing consumer statutes and
             became experts in consumer protection, antitrust and racketeering laws in the states the firm repre-
             sented. Because many of these state statutes were patterned after and followed federal law, our
             expertise with the FTC Act, the Clayton and Sherman Acts, and federal RICO grew. In each state we
             represented, Hagens Berman took the lead in opposing defendants’ onslaught of motions to dismiss
             and, where applicable, motions for summary judgment. As the record reflects, we achieved a remark-
             able degree of success in these endeavors.

             LIABILITY DOCUMENT DATABASE. Hagens Berman helped initiate and coordinate the so-
             called multistate document review project that was instituted to ensure that all relevant documents



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                                     were produced, reviewed and selected for use by the states in the Attorneys General actions. Over 30
                                     million documents were reviewed under the firm’s supervision by 12 lawyers from the firm and over
                                     40 assistant attorneys general. As a result of these efforts, we have compiled comprehensive liability
                                     documents that are readily searchable by employing a variety of search criteria and are easily acces-
                                     sible. In addition, having gone to trial against the industry, we organized the best or “hottest” liability
                                     documents in our trial exhibit notebooks.

                                     DE-PRIVILEGING EXPERTISE. Some of the most damaging liability documents for the industry
                                     were and are improperly cloaked from discovery by false claims of attorney-client and work product
                                     privilege. Many of these documents were brought to light in the Minnesota litigation, but thousands
                                     remained. In a coordinated strategy employed across many of the states that Hagens Berman repre-
                                     sented, we continued the de-privileging of these important documents. This effort required countless
                                     hours in hearings with judges and special masters, in addition to extensive briefing.

                                     A FOCUS ON TARGETING MINORS. In tandem with our general law enforcement approach,
                                     Hagens Berman focused the state legal claims on the industry’s deplorable practice of luring chil-
                                     dren to tobacco use. As part of this focus, in Arizona and Ohio we commissioned an expert survey of
                                     adolescents’ perception of tobacco advertising in general and, more specifically, on the deception of
                                     RJR’s Winston ‘No Bull/No Additives’ campaign. The survey data revealed that the vast majority of
                                     minors exposed to the campaign believed that the ‘No Additives’ slogan meant that the cigarette was
                                     either less addicting, safer or less harmful to health (when, of course, this was not true). This cam-
                                     paign was the target of a preliminary injunction motion in the Arizona case that was still pending
                                     when the states settled their cases. On March 3, 1998, the FTC announced it settled a claim it had
                                     subsequently filed on this issue based on our work in Arizona.

                                     TESTING OUR TRIAL STRATEGY WITH FOCUS GROUP STUDIES
                                     Hagens Berman conducted numerous focus groups in different states, thus acquiring unparalleled
                                     experience with the reactions of potential jurors.

                                     SERVING THE ELECTED CLIENT
                                     Hagens Berman was chosen, after competitive bidding, as counsel for 13 states, including those
                                     with democratic and republican leadership. The reason for our retention, in addition to excellent trial
                                     skills and complex litigation service, was our sensitivity to the needs of clients who were elected
                                     officials.

                                     KEY ROLE IN THE NATIONAL SETTLEMENT NEGOTIATIONS
                                     Steve Berman and Steven Mitchell were both heavily involved in the proposed June 20, 1997 na-
                                     tional settlement and the November 1998 final state settlement that settled all of the state’s cases for
                                     $206 billion. As such, both have unparalleled experience in negotiating with tobacco industry law-
                                     yers and the tobacco companies’ CEOs.

                                     TRIAL EXPERIENCE
                                     The trial of the Washington case was one of the largest trials conducted in the United States. It lasted
Attorneys Steve Berman (far left),   three months. Thousands of exhibits were offered into evidence and the case was presented using
Jon Ferguson, and Paul Luvera
with Washington State Attorney       state-of-the-art technology.
General Christine Gregoire
Announcing Court Approval of the
Historic Washington Settlement.




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             Securities Litigation
             One of the cornerstones of Hagens Berman’s practice since the
             inception of the firm has been securities litigation. Hagens Berman
             has recovered hundreds of millions of dollars for institutional and
             individual investors defrauded by unscrupulous management of
             publicly held corporations.
             INVESTOR LOSSES FROM FINANCIAL FRAUD ARE A WIDESPREAD
             AND GROWING PROBLEM FOR INSTITUTIONAL INVESTORS
             Financial fraud is running at epidemic proportions in the current market. Every year, more numerous
             and larger financial frauds occur. And the fraud has not been limited to smaller or “start-up” compa-
             nies. The past few years have seen even well-established companies such as Enron, Waste Man-
             agement, Sunbeam, Cendent, Boeing and Rite Aid involved in massive financial frauds that have
             caused more than $160 billion in losses to their investors.
             Everyone from the past Chairman of the SEC, Arthur Levitt, to famed investor Warren Buffet
             recognize the widespread problems in the accuracy of financial reporting that exist in the market
             today. As Chairman Levitt remarked in a September 1998 speech:
                            I fear that we are witnessing an erosion in the quality of earnings, and therefore the quality
                            of financial reporting. Managing may be giving way to manipulation. Integrity may be los-
                            ing out to illusion.1

             Warren Buffett echoed this sentiment in his Letter to Shareholders contained in Berkshire Hatha-
             way’s 1998 Annual Report:

                            Many major corporations still play things straight, but a significant and growing number
                            of otherwise high-grade managers… have come to the view that its okay to manipulate
                            earnings to satisfy what they believe are Wall Street’s desires.2

             Investing is, by nature, a speculative business involving a wide variety of risks. But no money
             manager should be forced to endure the risk that the reported financial condition of the company was
             misrepresented. The accounting profession – the supposed “public watchdog” overseeing public
             companies to ensure accurate financial reporting – has not been a protector of the investors. As the
             current Chairman of the SEC, Harvey L. Pitt described in a recent public statement, this lack of
             diligence in the accounting profession has led to a “growing pattern” of accounting failures:

                            Finally, there is a need for reform of the regulation of our accounting profession. We
                            cannot afford a system, like the present one, that facilitates failure rather than success.
                            Accounting firms have important public responsibilities. We have had far too many
                            financial and accounting failures. The Commission cannot, and in any event will not,
                            tolerate this pattern of growing restatements, audit failures, corporate failures and
                            investor losses. Somehow, we must put a stop to a vicious cycle that has been in
                            evidence for far too many years.



             1
                 The Numbers Game, remarks by Arthur Levitt on September 28, 1998 at the NYU Center for Law and Business.
             2
                 1998 Annual Report of Berkshire Hathaway, p. 15.




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             SERVICES PROVIDED TO INSTITUTIONAL INVESTORS
             Hagens Berman is a leading provider of specialized securities litigation services to public, private
             and Taft-Hartley pension funds. Hagens Berman offers its proprietary and unparalleled asset protec-
             tion and recovery services to both foreign and domestic institutions. Our institutional services
             provide participants with the ability to identify, investigate and react to potential wrongdoing by
             companies they invest in.

             Our program enables our clients to be proactive, not just reactive. For example, in litigation, new
             information is often revealed on a daily basis. We update our clients on an ongoing basis regarding
             their exposure and advise them on their legal rights and potential remedies. We make a commitment
             to our institutional and pension fund clients to protect and defend all of their rights as shareholders
             and guardians of their beneficiaries’ retirement funds.
             A professional money manager is in business to maximize its clients’ returns and obviously does not
             like losing his clients’ money to unscrupulous companies deceiving him through financial statement
             manipulation. Further, the competitive nature of the money management business is such that the
             additional few tenths of a percentage point lost from investing in companies that perpetrated frauds
             can make a significant difference to a money manager’s annual return. And a lower annual return can
             make a huge difference to the money manager in terms of current compensation and future marketing
             potential of his services.

             Through litigation, a money manager can recover a substantial percentage of those losses – thereby
             significantly increasing his performance. However, a money manager is a fiduciary, and most often
             does not have the ability or the desire to risk its own or its clients’ funds on speculative litigation
             using typical hourly-rate law firms. These types of law firms will not typically pursue contingent
             litigation and may, in fact, be conflicted from pursuing such litigation by their representation of
             accountants, underwriters or other potential defendants.

             Hagens Berman provides several different methods of fraud recovery litigation services to institu-
             tional investors that can help solve these problems. First, if the case is of sufficient size, and the
             factual background of the case fits within certain parameters, Hagens Berman will bring an individ-
             ual action on behalf of the institutional investor to recover the losses. As shown below, individual
             actions may provide significant benefits to the institutional investor, with relatively little risk.
             Alternatively, the institutional investor may wish to be the “lead plaintiff” in a securities class
             action against the offending company. Hagens Berman is well qualified to pursue either method
             of recovery.

             CLASS ACTIONS
             An institutional investor may instead decide to become the “lead plaintiff” in a class action securities
             fraud case against the company. Although the tide is slowly changing, for the most part institutions
             have been reluctant to step forward to control the case. Many class action cases are very successful,
             and provide meaningful recoveries to the class members. For example, the Morrison Knudsen and
             Oppenheimer Delta Partners litigations, both led by Hagens Berman, obtained settlements of
             approximately 60% and 80%, respectively, of the largest estimates of possible losses for the class
             members. The Midisoft case, also directed by Hagens Berman, obtained more than 50% of total
             damages. Numerous other recent cases such as Waste Management and Cendant have obtained
             hundreds of millions of dollars in settlements and recovered a large percentage of damages for
             injured shareholders.




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             DUTIES OF A LEAD PLAINTIFF
             As a class representative, the Court requires that you will adequately and fairly represent the class.
             To perform these duties, the institution must be generally familiar with the litigation. This does not
             mean it must know every aspect of the litigation. Hagens Berman will keep the institution informed
             of major events and this will satisfy its duty. The institution may and should confer with us at any
             time it feels it is appropriate to do so. The institution must also agree to vigorously prosecute the
             litigation. To perform this function, you must hire lawyers experienced in class action litigation.
             Hagens Berman has national experience in class actions, and has vigorously prosecuted numerous
             securities fraud class action cases, with aggregate recoveries in the hundreds of millions of dollars.
             All costs in prosecuting a class action are advanced and paid by Hagens Berman, and the institution
             is not responsible for their payment whether we are successful or unsuccessful.
             In short, the institution has minimal time commitments – but will be encouraged to provide its
             opinions and insights – and no financial responsibilities.

             AN INSTITUTION’S PRESENCE CAN DRAMATICALLY AFFECT THE
             LITIGATION
             As lead plaintiff, an institution can have a profound effect on the ultimate success of the litigation.
             Hagens Berman will work closely with the institutional investor functioning as lead plaintiff to keep
             them apprised of all major developments in the litigation. The institution will be directly involved in
             major strategy and any potential settlement discussions.

             As a lead plaintiff, the institution will have a direct influence on the strategies and ultimate disposi-
             tion of the case. Formerly, the first knowledge that an institution received of the settlement of a case
             was the written notification from class counsel that the case had settled. At that point, the institution
             could only exclude itself from the class to proceed individually, formally object to the settlement by
             hiring attorneys and filing written motions with the court (an expensive and time-consuming process)
             or accept the settlement as is. As lead plaintiff, however, the institution will be a key member of the
             decision-making team. It will be able to help decide if a contemplated settlement is too low, or is
             reasonable under the circumstances. For institutions that have been unhappy with the returns from
             previous class action lawsuits in which they were members of the class, overseeing the process to
             ensure that they are happy with the ultimate results is a compelling reason to participate.




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                                 Environmental Litigation
                                 Environmental litigation on behalf of victims of toxic spills or
                                 pollution and other land use practices is also an increasing area
                                 of focus for Hagens Berman. The following is a profile of some
                                 of our cases.
                                 CHINOOK FERRY LITIGATION. The firm represented a class of property owners who
                                 challenged Washington State Ferries’ high-speed operation of a new generation of fast ferries
                                 in an environmentally sensitive area of Puget Sound. Two of the ferries at issue, the Chinook and
                                 Snohomish, caused environmental havoc and property damage, compelling the property owners to
                                 take action. After a successful preliminary trial, the trial court enjoined the operation of the ferries
                                 at high speed pending compliance with environmental laws, which was later overturned on appeal
                                 by the Washington Supreme Court. A SEPA study conducted in response to the suit confirmed the
                                 adverse environmental impacts of the fast ferry service. The trial court approved a $4.4 million
                                 settlement that is among the most favorable in the annals of class litigation in the State of Washing-
                                 ton.

                                 GRAND CANYON LITIGATION. The firm represented the Sierra Club in a challenge to a Forest
                                 Service decision to allow commercial development on the southern edge of the Grand Canyon
                                 National Park. Recently the trial court enjoined the project.
Exxon Valdez Oil Spill Cleanup
Exxon Valdez Oil Spill




                                 EXXON VALDEZ OIL SPILL LITIGATION. The firm represents various classes of claimants,
                                 including fisherman and businesses located in Prince William Sound and other impacted areas, who
                                 were damaged by the worst oil spill in United States history. A $5 billion judgment was awarded by
                                 a federal court jury and a $98 million settlement was achieved with Alyeska, the oil company consor-
                                 tium that owned the output of the pipeline. The Ninth Circuit Court of Appeals recently overturned
                                 the punitive damage award and indicated the district court should reconsider the amount, but not the
                                 issue of whether punitive damages were appropriate.

                                 KERR-MCGEE RADIATION CASE. The firm represented a class action on behalf of residents
                                 of West Chicago, Illinois, who have been exposed to radioactive uranium tailings from a rare earth
                                 facility operated by Kerr-McGee. The trial court has upheld plaintiff’s claim, and Kerr-McGee
                                 unsuccessfully sought review in the 7th Circuit Court of Appeals. A medical monitoring settlement
                                 valued in excess of $5 million has received court approval.

                                 SEATAC LITIGATION. The firm represented homeowners who claimed that the operation of the
                                 Seattle-Tacoma Airport destroyed their property values. The case was the largest inverse condemna-
                                 tion case asserted against a governmental agency in the Pacific Northwest. After a jury trial, the case
                                 settled.

                                 SKAGIT VALLEY FLOOD LITIGATION. The firm represented farmers, homeowners and
                                 businesses who claimed damages as a result of the 1990 flooding of this community. The case,



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Skagit Valley Flood
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                               which had been in litigation for ten years and involved a jury trial of over five months in Snohomish
                               County, was the longest jury trial ever conducted in Snohomish County. Following the entry of 53
                               verdicts against Skagit County, the trial Court entered judgments exceeding $6.3 million. Ultimately,
                               the State Supreme Court reversed this judgment. Despite this reversal, the firm is proud of this
                               representation and believes that the Supreme Court erred.

                               RIO TINTO. In a landmark case, the firm represents victims of Rio Tinto’s mining operation on the
                               island of Bougainville. To build the mine, Rio chemically defoliated, bulldozed and sluiced off an
                               entire mountainside of rain forest. During the years of the mine’s operations, billions of tons of toxic
                               mine waste was generated and dumped onto the land and into pristine waters, filling major rivers
                               with tailings, polluting a major bay dozens of miles away, and the Pacific Ocean as well. As a result
                               of its flagrant disregard for the environment and the people of Bougainville, Rio dispossessed the
                               people of Bougainville from their land, destroyed their culture and polluted their environment and
                               lifestyle. Rio destroyed previously pristine rivers and land that provided substance and a way of life
                               for the native people and went to the heart of their local culture. The pollution is so extensive that
                               plaintiffs and members of the class have been exposed to toxic chemicals. In certain villages, the
                               chemicals still remaining have caused the death and/or illness of residents.

                               Rio’s actions on Bougainville were so egregious that they sparked an uprising designed to close the
                               mine. When the uprising succeeded, Rio and the PNG government brought troops in to reopen the
Dead Forest Vegetation as a
                               mine. Rio provided transport for these troops. After initial unsuccessful efforts, the PNG government,
Result of Raised Water Table   as the agent of or co-venturer of Rio and with the support and encouragement of Rio, instituted a
Levels Near Old Kuneka         military blockade of the island that lasted for almost ten years. The purpose of the military blockade
                               was to coerce the Bougainville people into surrender so that the mine could be reopened. Both Rio
                               and PNG made enormous profits from the mine and were anxious for it to operate, notwithstanding
                               the resistance of the island’s people. The blockade prevented medicine, clothing and other essential
                               items from reaching the people of Bougainville. Hospitals were forced to close, women died need-
                               lessly in childbirth and young children died from easily preventable diseases. Rio’s top manager of
                               the Bougainville mine encouraged continuation of the blockade for the purpose of ‘starving the
                               bastards’ out. This blockade directly caused the deaths of at least 10,000 people between 1990 and
                               1997. According to the Red Cross, the blockade killed more than 2,000 children in just its first two
                               years of operation. By the time the war ended in 1999, 10% of the population of Bougainville,
                               approximately 15,000 civilians, were killed.

                               The action alleges that Rio’s conduct violated customary international law, including prohibitions
                               against destruction of the right to life and health, and prohibitions against racial discrimination, and
                               war crimes. Rio’s conduct violated the settled standards for the protection of human rights and the
                               environment recognized by customary international law and United States legal precedent. The
                               plaintiffs seek redress under the federal Alien Tort Claims Act (28 U.S.C. § 1350).




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             Drug, Healthcare and Dietary
             Supplement Litigation
             Hagens Berman vigorously pursues litigation that improves the qual-
             ity and fairness of our healthcare and prescription drug system. Rep-
             resenting individuals, governments and the nation’s most forward-
             thinking public-interest groups, Hagens Berman seeks to shine the
             light of public scrutiny on these industries and their practices.
             Second to none in this field, Hagens Berman attorneys have filed and argued suits against dozens of
             major drug companies, giving them extensive litigation and courtroom experience in these areas.

             PRESCRIPTION DRUG CASES
             Prescription drug prices in the United States are the highest in the world and have become a signifi-
             cant barrier to increasing access to health care in the United States.

             The overwhelming and dramatic rise in prescription drug prices has spurred several consumer interest
             and senior organizations to take an interest in rooting out collusive and unlawful profit-driven
             schemes within the drug industry. Hagens Berman seeks out, builds consensus and combines the
             efforts of these organizations to effectively battle unlawful pricing schemes, off-label marketing, and
             other illegal activities by drug companies, using the organizations’ membership and research to bring
             significant pressure on defendants.

             Some of the groups Hagens Berman represents include the American Federation of State, County and
             Municipal Employees (AFSCME), the California Public Interest Research Group (CALPIRG),
             Community Catalyst, the Congress of California Seniors, Connecticut Citizen Action Group, Health
             Care for All, the Prescription Access Litigation (PAL) Project, and USAction.

             The prescription drug litigation pursued by Hagens Berman on behalf of these entities and individu-
             als primarily focus on three distinct areas of misconduct by certain pharmaceutical companies:
             (i) unlawful price inflation; (ii) filing false secondary patents to prevent other drug manufacturers
             from bringing competing generic drugs on the market, commonly known as “patent evergreening,”
             and taking other unlawful actions to block the distribution of lower-priced generic substitutes; and
             (iii) actively promoting drugs for uses that are not approved by the Food and Drug Administration,
             commonly known as “off-label” uses.
             Hagens Berman is also very active in representing industry “insiders” in “whistleblower” cases under
             the federal False Claims Act.

             In short, these cases seek to bring an end to these unlawful practices and compensate those who have
             been financially harmed as a result of the practices. The cases also have great potential to change
             industry behavior and in turn increase consumer access to vital drugs. Hagens Berman remains
             committed to combating illicit activities that harm American consumers and taxpayers who are
             forced to pay unfair prescription drug prices.




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             CASES INCLUDE:
             AVERAGE WHOLESALE PRICE (AWP) LITIGATION – With attorneys Steve Berman and
             Tom Sobol appointed as co-lead counsel, Hagens Berman has taken the lead in this important litiga-
             tion challenging pharmaceutical companies’ practice of fraudulently inflating reported Average
             Wholesale Prices (AWP) for drugs.
             The suit claims that since the early 1990s, most of the nation’s major pharmaceutical companies have
             engaged in a scheme to report fictitious AWPs for certain prescription pharmaceuticals, including
             many of those covered by Medicare and Medicaid. These fictitious AWPs result in inflated drug
             prices and billions of dollars in illegal profits reaped at the expense of American taxpayers and
             consumers.

             In February 2004, the court rejected nearly every argument made by defendants in an effort to
             dismiss the case, and ordered the suit forward. Attorneys Steve Berman and Tom Sobol led the
             prosecution strategy and argued in court against the defendants’ motion to dismiss.

             AVERAGE WHOLESALE PRICE NEVADA AND MONTANA – Acting as special assistant
             attorney general, Steve Berman has filed suits on behalf of the states of Nevada and Montana,
             challenging several drug companies’ practice of charging for Medicare drugs based on inflated
             Average Wholesale Prices.

             PHARMACY BENEFIT MANAGERS – Filed on behalf of the Prescription Access Litigation
             (PAL) Project, the American Federation of State, County, and Municipal Employees (AFSCME), and
             the AFL-CIO, this suit alleges a pattern of illegal and secret dealings involving the four largest
             pharmacy benefit managers (PBM), who control more than two-thirds of the PBM market.

             The lawsuit alleges that the four PBMs have taken illegal profits by steering health insurers and
             health care consumers into reliance on more costly drugs. It also contends that the four PBMs have
             negotiated rebates from drug manufacturers and discounts from retail pharmacies but haven’t passed
             those savings on to health plans and consumers despite their promises to do so.

             LIPITOR – Hagens Berman represents Lipitor consumers in a proposed class action claiming drug
             distributors Albers and Med-Pro violated the RICO Act and several consumer laws by scheming with
             unknown sources to deceive consumers into purchasing counterfeit Lipitor.

             OXYCONTIN – Hagens Berman was among the first to file a class-action lawsuit against the drug
             maker Purdue Pharma on behalf of OxyContin consumers and several consumer groups, claiming the
             company took billions from customers by using fraudulent patents and sham lawsuits to block
             generic alternatives to OxyContin.

             NEURONTIN (PFIZER/PARKE DAVIS) – Representing a broad coalition of consumer and public
             interest groups, Hagens Berman filed a lawsuit against Pfizer and its subsidiary, Parke-Davis, accus-
             ing the companies of circumventing FDA regulations to promote scientifically unproven off-label use
             of their drug.

             NEXIUM – The suit alleges that the pharmaceutical company sought to preserve their market share
             and profits as the patent on their blockbuster drug, Prilosec®, was set to expire, by initiating a
             massive and misleading advertising and promotional campaign to deceive consumers into purchasing
             Nexium, a nearly identical new drug. Filed in California Superior Court in Los Angeles, the suit
             contends that the core of AstraZeneca’s scheme was to use misleading information to convince
             consumers that Nexium was a significantly better drug than Prilosec. The pharmaceutical planned to
             redirect consumer loyalty from the flagship drug Prilosec to Nexium before the expiration of Pril-
             osec’s U.S. patent and the onslaught of competition from generic manufacturers that would deprive
             AstraZeneca of significant profits.



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             340(B) – In a suit filed in U.S. District Court in Alabama, Central Alabama Comprehensive Health-
             care Inc., an organization that provides care for the indigent, claims major drug manufacturers have
             charged prices far above the maximum allowed by a 1992 law designed to provide more healthcare
             access to the homeless, the disabled, children, and the poor. The 1992 law requires drug companies
             to charge public hospitals and community health centers a price lower than prices paid by any other
             public or private purchaser. Although drug companies are required to give public hospitals the best
             price, they have steadfastly refused to disclose how they calculate prices, the suit notes. The suit
             seeks to represent all public hospitals and community health centers nationwide that were allegedly
             overcharged by the drug companies.

             OTHER HEALTHCARE CASES
             In addition to Hagens Berman’s work in prescription drug litigation, the firm is also leading efforts to
             end healthcare abuses in other areas such as hospitals, nursing homes and laboratory testing proce-
             dures.

             CASES INCLUDE:
             TENET HEALTHCARE – Hagens Berman represents the California Congress of Seniors against
             Tenet Healthcare, contending that the company has engaged in a wide variety of illegal actions –
             ranging from conducting unnecessary medical procedures to adding outrageous mark-ups to medica-
             tions – in an effort to boost corporate profits at the expense of their members and other healthcare
             consumers.

             ABBOTT LABORATORIES – Hagens Berman represented women claiming that one of Abbott
             Laboratories’ most common testing procedures returned flawed results, leading to unnecessary
             cancer treatments including chemotherapy and hysterectomies.

             MANORCARE – Filed in California with the help of long-time nursing home activist Ila Swan, this
             suit claims ManorCare institutes high patient-to-staff ratios, causing significant Health Services
             violations, while falsely and deceptively advertising premium care.

             DIETARY SUPPLEMENTS AND NUTRACEUTICALS
             The dietary supplement industry has seen exponential growth in the wake of the 1994 Dietary
             Supplements Health and Education Act, which largely removed FDA oversight of vitamins, minerals
             and herbs that are considered safe supplements to the human diet. Unfortunately, many unsavory
             companies have marketed supplements that are unsafe, and many have touted supplements through
             unsubstantiated claims of efficacy.

             Hagens Berman represents consumers in national class-action cases involving dietary supplements
             and nutraceuticals. The suits seek to hold manufacturers and marketers accountable for deceiving
             consumers through unsubstantiated claims of efficacy and, in some cases, allegedly fraudulent billing
             practices.

             CASES INCLUDE:
             ENZYTE – In cases filed in Ohio and California, these suits claim that Berkeley Nutraceuticals and
             Lifekey Inc. touted the “male enhancement” supplement Enzyte by using false claims of efficacy and
             otherwise engaged in unfair and deceptive conduct with respect to billing practices.

             CELLASENE – Rexall markets a product called Cellasene, which purports to fight cellulite. Tens of
             thousands of women have purchased this product, which is in our view a scam — it does not fight
             cellulite. Hagens Berman filed the first case in the nation challenging the marketing of this product.



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             The FTC has recently filed a similar action against Rexall. The case recently settled with a signifi-
             cant recovery for consumers.




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             Insurance Litigation
             Hagens Berman has built an outstanding reputation litigating class-
             action cases against the biggest insurance companies in the country
             and large organizations that offer and sell service-specific insurance
             to their customers. Hagens Berman attorneys have forced them to
             stop overcharging policyholders and consumers; prevented insur-
             ance companies from reducing policyholders’ benefits without a
             valid reason; recouped monies unfairly paid; secured unlimited cov-
             erage because the insurer broke the law when selling the policies:
             compelled stronger and more accurate disclosures when unearned
             and unwarranted “fees” are imposed; recovered monies paid because
             disclosures were inadequate; and eliminated numerous insurance
             companies’ practices that are not in the best interest of insureds and
             policyholders.
             Specifically, we have caused over a dozen insurance companies to revise their policies and endorse-
             ments so as reflect and disclose the true (and higher) coverage that they owe their insured policy-
             holders. We have pioneered cases seeking additional coverage because the insurance companies
             never offered the coverage that was required by law, electing instead to provide a narrow, more
             restrictive option. Recently, we caused a major insurer to drop its practice of making consumers
             prove that they paid their deductibles in full before providing coverage. In another instance, we
             sought and won additional coverage for class-member policyholders for economic injuries resulting
             from accidents. For every insured policyholder who received a defective disclosure form while being
             sold the policy, Hagens Berman secured additional coverage - even though these policyholders
             selected minimum coverage at the point of purchase. As part of this case, Hagens Berman exposed
             deficiencies in insurance company’s explanations, offers, and policies that resulted in substantial
             sums being paid to policyholders, who never were offered the coverage required by law.
             In Clark v. State Farm, we prevailed at the Tenth Circuit, with the court ruling that additional bene-
             fits were mandatory if a correct offer was not made. Through extensive research of forms and policy
             documents, we will show that anyone insured by a State Farm policy covered under a minimum
             policy from 1973 to date is entitled to extra coverage. These unlimited time and amount benefits will
             help any insured suffering extensive wage loss or incurring major medical expenses, even if paid by a
             health insurer or Medicaid. Because of the State Farm’s alleged failure to make the offer required by
             law of additional Personal Injury Protection (PIP) benefits, and not acting reasonably after it knew of
             the obligation, we allege that State Farm committed bad faith. Under Colorado law, insureds are
             entitled to treble damages, 18% interest, damages for bad faith, punitive damages, and attorneys’
             fees.

             Fincher v. Prudential: We alleged that Prudential is illegally limiting the insurance coverage avail-
             able. We allege that Prudential violated the law by not making the offer required and by unfairly
             limiting the aggregate benefits that would be paid. The Tenth Circuit Court of Appeals affirmed our



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             theory. As a consequence, this putative class action is going forward seeking unlimited benefits for
             anyone with a minimum insurance policy who has extensive wage losses or medical expenses
             resulting from an automobile accident.

             We are litigating a variation on these theories (Clark and Fincher) against many of the major insurers
             in the State of Colorado. And despite no-fault coverage being eliminated, those with serious medical
             bills and/or extensive wage loss will continue to benefit from our efforts for years to come.

             Along with our co-counsel, Hagens Berman sued four major Colorado insurers in class action cases.
             We allege that they refuse to pay the full price of medical bills arising from an auto accident. These
             insurers claimed that the bills were too high. The insurers only paid a portion of the bills, basing
             their decision on a database that our suit claims is illegal under Colorado law. We seek to recover all
             monies not paid. In addition, we seek an interest payment of 18%, treble damages, bad faith dam-
             ages, and punitive damages for all class members. Under the No Fault Act, the insurers must pay all
             reasonable bills. Moreover, the database used is designed to assess what is customary, not what is
             reasonable, and thus cannot be used to “reprice” these bills.




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             The Partners
             STEVE W. BERMAN
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             Hagens Berman’s managing partner, Steve helped found the firm in 1993. He has served as lead or
             co-lead counsel in securities, consumer, products liability and antitrust and employment class actions
             in the Northwest and throughout the country. He has prosecuted numerous class action and complex
             litigations involving entities in such notable and high profile matters as the Washington Public
             Power Supply System, Exxon Valdez Oil Spill, Michael Milken Litigation, Enron Litigation,
             Tobacco Litigation, and Visa/MasterCard Litigation.

             Steve’s current key cases include AWP, Rio Tinto, J.P. Morgan, Exxon-Mobil, Enron, Grass
             Seed Burning, Tenet Healthcare, UAL ERISA Litigation, PBM, IRI v. A.C. Nielsen, and Nex-
             ium.

             Steve’s successes include obtaining a settlement of $92 million in the Boeing Securities Litigation,
             representing stock and bondholders in the Bonneville Pacific Securities Litigation resulting in
             settlements exceeding $30 million, and gaining approval of a $290 million settlement in the Louisi-
             ana Pacific Siding Litigation, the largest product liability settlement in Pacific Northwest history.
             In the WPPSS Securities Litigation, Steve represented the class plaintiff bond purchasers in the
             largest securities trial in U.S. history. As well as being a member of the trial team, the lead counsel
             designated him as a ‘core group’ member alongside a group of class plaintiffs and Chemical Bank
             attorneys charged with prosecuting the case. The case resulted in a settlement exceeding $850
             million, the largest recovery in a securities class action at the time.

             Steve’s innovative approaches to litigation have earned him significant recognition. When benefici-
             aries of state employee pension funds refused to pursue sums from Michael Milken’s misappropria-
             tion of warrants, Steve stepped forward, pioneering the Milken action and its unique approach to
             recovery. As co-lead counsel in multi-state class actions against Blue Cross, Steve uncovered the
             Blue Cross’ breach of fiduciary duties owing to plan participants. His discovery led to the Blue
             Cross being sued in dozens of states and lawyers throughout the country emulating his approach.

             Perhaps most notably, in the landmark Tobacco Litigation, Steve served as a special assistant
             attorney general for the states of Washington, Arizona, Illinois, Indiana, New York, Alaska, Idaho,
             Ohio, Oregon, Nevada, Montana, Vermont and Rhode Island in prosecuting major actions against the
             tobacco industry.

             A principal in the ground-breaking settlement with Liggett and the proposed national settlement,
             Steve was one of only two private attorneys acting as members of the negotiating team. He con-
             ceived the idea to use Liggett as the whistleblower and secured the cooperation of Bennet LeBow,
             Liggett’s CEO, as well as insisting that Liggett waive all claims of attorney-client privilege. Steve
             also negotiated the settlement that required Liggett to admit what the industry has denied to this day:
             smoking causes cancer and heart disease; nicotine addicts; and the industry targets children.

             Liggett’s admissions, the cooperation of LeBow, and the release of previously privileged documents
             were instrumental factors in driving the industry to settlement. Liggett’s ‘plea of guilty’ added
             momentum to the 1997 proposed national settlement, which led to the eventual 1998 $206 billion
             multi-state settlement.
             The announcement of the final settlement found Steve in his ninth week of trial presenting the state
             of Washington’s case to a jury. His successful handling of the bulk of the trial earned him great


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             respect and subsequently some of Washington state’s leading trial lawyers hired Steve to try a
             certified class action brought by union trust funds against tobacco. The book, People v. Big Tobacco,
             describes his role in the Tobacco Litigation.

             Other notable actions surround the Morrison Knudsen Securities Litigation, Contact Lens Dis-
             posable Antitrust Litigation and Piper Jaffray Closed-End Funds Litigation in which he ob-
             tained a settlement valued at nearly $60 million. Steve’s cases have also involved corporate entities
             such as Egghead, Foodmaker, SuperMac, Immunex, Digital Systems, and Aldus.

             More recently, Microsoft recognized Steve’s experience and expertise when the company retained
             him to be part of the core national team representing the company in antitrust class actions arising
             from Judge Jackson’s Findings of Fact in the Department of Justice antitrust case against the com-
             pany.
             In April 2000, the National Law Journal listed Steve as the top litigator in the state and, in June,
             named him as one of the 100 most powerful lawyers in the nation. In January 2001, Seattle Maga-
             zine featured him in an issue profiling the top lawyers in Seattle.
             Steve graduated from the University of Michigan in 1976 and earned his law degree from the Univer-
             sity of Chicago Law School in 1980.

             JENIPHR A.E. BRECKENRIDGE
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             Jeniphr joined the firm to focus on consumer and securities litigation. Currently, she remains heavily
             involved with the firm’s Enron case. Other notable cases include Boeing Securities Litigation,
             Raytheon Litigation, Abbott Drug Litigation and Tobacco Litigation.

             In the Tobacco Litigation, Jeniphr spearheaded the Hagens Berman effort to develop facts sur-
             rounding defendant British American Tobacco Industries and its subsidiaries, including Brown &
             Williamson and BATCo. Reviewing BAT documents held in a repository in Guildford, England, she
             explored issues of American court jurisdiction over BAT entities; BAT participation in the world-
             wide industry conspiracy; and BAT and Brown & Williamson lawyer involvement in the conspiracy,
             as well as other issues related to liability.

             Pursing other discovery issues related to Brown & Williamson and BAT, Jeniphr successfully and
             strongly opposed motions to compel the depositions of two top BAT executives, Martin Broughton
             and Urlich Herter, halting the development of the story of BAT’s acquisition of Farmers. Later, she
             helped identify state exhibits in Arizona and Washington. Coordinating with defendants and the
             court, she also managed the firm’s efforts in Washington to admit state exhibits and respond to and
             oppose the admission of certain defense exhibits, including addressing certain evidentiary issues with
             the court.

             Jeniphr earned her bachelor’s degree from Mt. Holyoke College and graduated from Georgetown
             University with a master’s degree in political theory and economics. Notes and Comments editor of
             the Maryland Law Review, she graduated from the University of Maryland Law School in 1988.

             ROBERT B. CAREY
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             Joining Hagens Berman in 2002, Rob serves as the managing partner for the firm’s Phoenix office.
             Rob’s practice includes handling numerous class action lawsuits against a variety of organizations
             and companies, including California Lottery Litigation, Texas Hyundai Litigation, and a case



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             surrounding the state of Arizona’s tax credit and grant policies for buyers and dealers of alternative-
             fuel vehicles. In a current class action, Rob confronts insurance companies for not providing statuto-
             rily required coverage or notices, charging for obligated coverage, or not paying enough for cars
             whose value declined the completion of repairs.

             Previously, Rob led the Carey Law Firm as managing partner, focusing on personal injury, medical
             malpractice and other plaintiffs’ cases. In addition to arguing several high-profile cases in various
             state Supreme Courts and Courts of Appeals, he litigated multi-billion dollar claims by counties for
             damages stemming from tobacco-related illnesses and more than two dozen consumer, insurance and
             financial class actions in various states. Rob also served as judge pro tempore in Maricopa County
             Superior Court and as special counsel for Hagens Berman suits to recover Medicaid and statutory
             damages in landmark public health litigation.
             In addition, from 1990 to 1996, Rob oversaw all major legal, policy, legislative and political issues
             for the Arizona attorney general’s office as the first assistant attorney general. Instrumental in
             several suits, Rob obtained a $4 billion divestiture, a landmark $165 million antitrust settlement, and
             won numerous consumer and tort cases. He also drafted and spearheaded passage of Arizona’s law
             requiring the DNA testing of all sex offenders and instituted a penalty requiring that criminals pay
             the cost of victims’ rights. During this time, Rob drafted the bulk of the federal Prisoner Litigation
             Reform Act of 1995 for Senators Bob Dole and Jon Kyl, as well as the counterpart Arizona act that
             served as a model for other states. He also served as a former staff member and intern for U.S.
             Senator John McCain, when McCain was a congressman.
             Recognized by the judges of the Superior Court of Arizona in Maricopa County for outstanding
             contributions to the justice system, Rob frequently presents at national conferences and teaches tort,
             contract and public policy courses, most recently at the University of Colorado’s graduate business
             school.

             Rob earned his bachelor of science from Arizona State University and graduated from the University
             of Denver with both a law degree and a master of business administration.

             ERIN K. FLORY
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             Erin joined Hagens Berman to practice securities and class action litigation. His writing and legal
             analysis have helped establish the high standards that exemplify Hagens Berman’s written court
             submissions which have been vital to the firm’s rise to national prominence. Playing a prominent
             role in Hagens Berman’s securities cases, Erin’s cases include Boeing, Boston Chicken, Ein-
             stein/Noah Bagel, Midcom, Wall Data, Immunex and Bonneville.

             Before Hagens Berman, Erin worked for a leading corporate defense firm, leaving in 1991 to
             represent the interests of injured investors, consumers, workers and homeowners in their challenges
             to corporate misconduct. After obtaining his law degree, he clerked for Judge Thomas S. Zilly of the
             United States District Court for the Western District of Washington and for the Washington State
             Court of Appeals.

             Erin graduated summa cum laude and Phi Beta Kappa from the University of Washington in 1983
             with a degree in economics. He earned his law degree from the University of Washington Law
             School, where he served as an executive editor of the Washington Law Review.




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             CARL H. HAGENS
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             Carl Hagens joined Steve Berman to found Hagens Berman in 1993. His practice areas include a
             wide range of complex commercial litigation representing both plaintiffs and defendants in areas
             including antitrust, securities, breach of contract, injunctive and other equitable proceedings.

             Some of his accomplishments include successfully representing Westin in the Hotel Telephone
             Charges Litigation, recovering $13.6 million in Seafirst Securities Litigation, successfully repre-
             senting independent asphalt pavers in the Spokane Asphalt Antitrust Litigation, and recouping the
             near entirety of bondholder’s original investment in the Badger Mountain Securities Litigation.

             After successfully defending Associated Grocers in the Beef Antitrust and Waremart Antitrust
             Litigation, Carl represented them against the state of Washington resulting in the State Supreme
             Court declaring sections of the state’s Business and Occupation Tax unconstitutional.

             The Ninth Circuit Judicial Conference’s lawyer representative from 1989-1991, Carl is also a mem-
             ber of the Continuing Legal Education Committee of the Federal Bar Association and a member of
             the special commission to study and report antitrust laws for the Washington State Bar Association.
             A 1967 graduate of the University of California, Hastings College of the Law, Carl was admitted to
             practice in California in 1967 and in Washington in 1968.

             SEAN R. MATT
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             Sean’s field of practice involves consumer, insurance, products, antitrust, environmental, employ-
             ment, securities and labor class actions and other complex litigation.
             Sean is actively involved in the Pharmaceutical Industry Average Wholesale Price litigation. He
             participates in the management of the discovery process for both the MDL case and the individual
             state actions in Nevada and Montana. Sean also oversees the third-party subpoena practice and is part
             of the team that prepares for and conducts depositions. From time to time, Sean will also work on
             legal research and writing projects. He undertakes similar duties in the firm’s Pharmacy Benefit
             Managers litigation.
             Sean is also active in the firm’s Dietary Supplement/Nutraceuticals litigation, a practice area
             focusing on unsubstantiated claims of herbal efficacy and, in some cases, alleged fraudulent billing
             practices.
             In the Tobacco Litigations, Sean was part of Hagens Berman’s team that successfully represented
             13 states and returned billions of dollars in recovery. Sean assisted with client liaison responsibilities,
             working closely with Assistant Attorneys General in Oregon, Ohio, Arizona, Alaska and New York.
             He assisted in briefing and arguing motions to dismiss and worked on various discovery issues,
             including discovery requests, briefing on discovery motions and appearances at discovery hearings.
             Sean also worked on expert disclosure statements and the preparation of testimony for a variety of
             expert witnesses.

             In the Washington State Fast Ferry litigation, Sean ran the case on a day-to-day basis to consum-
             mate one of the most favorable settlements ever in class litigation in the State of Washington. Sean
             also works on the firm’s California Electricity Fraud cases, including participation in the firm’s
             representation of the Snohomish Public Utility District against numerous power generators and




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             marketers alleged to have caused skyrocketing energy prices through fraudulent market gaming
             techniques.
             Over the years, Sean’s primary focus has been on multi-state and nationwide class actions pending in
             courts throughout the country, including Washington, other Western states, and states in the Midwest
             and South. In addition to state and federal courts in Washington, he has appeared in courts in Cali-
             fornia, Alaska, Montana, Idaho, Oregon, Arizona, Nevada, Illinois, Ohio and Tennessee. His experi-
             ence in multi-state and nationwide class actions includes organizing and developing a standardized
             approach to prosecuting individual class cases across many states involving the same defendants and
             similar factual and legal issues.

             Sean received a degree in finance from Indiana University with Highest Distinction in 1988. After
             college, he worked as an employee benefit consultant. Sean graduated Order of the Coif from the
             University of Oregon School of Law in 1992 and was an associate editor of its law review. While a
             law student, Sean co-authored the comment, "Providing a Model Responsive to the Needs of Small
             Businesses at Formation: A Focus on Ex Ante Flexibility and Predictability," 71 Oregon Law Review
             631 (1993).

             He is admitted to practice in the State of Washington, the U.S. District Court for the Western District
             of Washington and the Ninth Circuit Court of Appeals. Sean has been with Hagens Berman since its
             creation.

             DAVID S. NALVEN
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             David Nalven joined Hagens Berman in 2004 as a partner in the Boston office. David's practice
             includes handling numerous class action lawsuits in the areas of prescription drug pricing, securities
             fraud, insurance fraud, and consumer protection.

             From 1999 to 2004, David served as Chief of the Business and Labor Protection Bureau in the
             Massachusetts Attorney General's Office. David oversaw a staff of more than 100 on all cases and
             initiatives involving healthcare fraud, insurance fraud, workplace offenses, and other civil and
             criminal business matters. During his five years with the Attorney General's Office, David's notable
             responsibilities included:
                 •    Serving as lead or supervisory counsel on all investigations and litigation concerning pre-
                      scription drug pricing and other healthcare fraud matters.

                 •    Prosecuting insurance fraud violations by the largest workers compensation law firm in
                      Massachusetts, and obtaining guilty plea and committed-time sentencing agreements
                      against the partners of the firm.

                 •    Directing the investigation and negotiating the resolution of wide-ranging violations of
                      child labor laws against the owner of several dozen Dunkin' Donuts locations, resulting in
                      the largest child labor penalty in Massachusetts history.

                 •    Advising the Massachusetts Pension Reserve Investment Management Board, which over-
                      sees the state's $30 billion public employee pension fund, on securities fraud litigation mat-
                      ters.

             David earned his B.A. magna cum laude in English from the University of Pennsylvania in 1980 and
             graduated from New York University School of Law in 1985. After law school, David served as a
             law clerk to the Honorable John R. Gibson of the United States Court of Appeals for the Eighth
             Circuit.



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             David is an editor of the Boston Bar Journal, and has been a frequent speaker on business litigation
             and corporate responsibility issues in conferences sponsored by professional associations (American
             Bar Association, Massachusetts Continuing Legal Education), industry groups (Massachusetts
             Association of Healthcare Administrators), and organized labor (AFL-CIO, Massachusetts Building
             Trades Council).

             CHRISTOPHER A. O’HARA
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             Chris joined Hagens Berman in 1997, practicing for nearly five years in the firm’s Phoenix office.
             He recently returned home to the Seattle office with a concentration on antitrust, consumer, securities
             and civil rights class actions.
             Currently, he serves as plaintiffs’ counsel in the JP Morgan Chase Litigation, price fixing litigation
             in the Linerboard and Laminates industries, as well as assisting with the national FCRA action
             against Trans Union and MCI. A member of the firm’s Microsoft defense team, Chris also cur-
             rently investigates allegations of racial discrimination and “redlining” in Chrysler’s automobile loan
             practices in Illinois.

             While in Phoenix, Chris deposed more than a dozen of big tobacco’s expert witnesses, research
             scientists and marketing executives for the Tobacco Litigation, focusing predominantly on the
             Arizona case. He also defended the depositions of Arizona’s national and local expert witness, while
             contributing to all aspects of discovery and motion practice. More recently, Chris played a leading
             role in the firm’s successful defense of the state of Arizona against a claim brought by several
             Arizona Counties in the aftermath of the state’s tobacco litigation.

             Prior to joining Hagens Berman, Chris focused on property loss subrogation and professional
             liability defense at a Seattle area law firm.

             He earned a bachelor’s degree in political science and French language and literature from the
             University of Washington in 1987. Chris subsequently graduated cum laude from Seattle University
             School of Law and is admitted to practice in state and federal courts in both Arizona and Washing-
             ton, as well as the U.S. Ninth Circuit Court of Appeals.



             CLYDE A. PLATT
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             Clyde joined Hagens Berman to practice securities fraud litigation, audit malpractice litigation and
             products liability litigation. Representing company shareholders in diverse industries such as con-
             struction, telecommunications and food service, he obtained a $400 million settlement for a lengthy
             audit malpractice action on behalf of federal banking regulators arising from the failure of a system
             of east Tennessee banks.

             Clyde played a major role in the Boeing Digital Systems, Aldus, Heart Technology, Foodmaker,
             Wall Data and ProCyte actions and currently works on the Raytheon and Enron cases, two of the
             largest cases now pending in the country.

             Before Hagens Berman, Clyde clerked for the Ninth Circuit Court of Appeals in Texas. Clyde
             graduated summa cum laude from the University of Washington, after serving in the United States
             Coast Guard, earning his law degree from the University of California, Davis, in 1985. He is admit-




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             ted to practice in Washington, Texas, California and Nevada and has appeared in courts in several
             other jurisdictions.

             KEVIN P. RODDY
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             Kevin joined the firm in April 2000 with the opening of the Los Angeles branch. With his practice
             emphasizing securities and consumer fraud, antitrust, ERISA and civil RICO, Kevin currently leads
             the prosecution in the Japanese Slave Labor cases. He also remains heavily involved with leading
             litigation for the Peso Scam Litigation and consumer claims against Rexall and McDonalds.

             Kevin’s successes include obtaining a settlement exceeding $240 million, of which professional
             defendants paid $150 million, and a jury verdict of $3.2 billion in the American Continental
             Corp./Lincoln Savings & Loan, the largest recovery in a securities fraud/civil RICO action. He has
             also been appointed lead or co-lead counsel in numerous shareholder and consumer class actions and
             complex litigations, including matters involving Bank of America, Hughes Aircraft, Lockheed
             Martin, Northrop and Travelers Group.

             Prior to joining Hagens Berman, Kevin served as a partner at Milberg Weiss Bershad Hynes &
             Lerach LLP, opening their Los Angeles office in 1990.
             Kevin graduated from the University of North Carolina in 1977, earning his law degree from the
             University of North Carolina School of Law in 1980. Admitted to practice law in California and
             Virginia, he has appeared before various federal courts of appeal. Kevin also participates as a
             frequent speaker and panelist in continuing legal education programs throughout the country.

             GEORGE W. SAMPSON
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             In 1994, George joined Hagens Berman to focus on antitrust and consumer class actions. Currently
             serving as co-lead counsel in the Disposable Contact Lens Litigation and the Visa and Master-
             Card debit card case, he also helped develop antitrust claims in the Tobacco Litigation.



             Prior to joining Hagens Berman, George served as chief of the Antitrust Bureau for the New York
             Attorney General’s Office. George oversaw a 22 person staff and managed case selection and
             investigation for all civil and criminal prosecutions. He also served as attorney general liaison to the
             federal-state Executive Working Group-Antitrust. His position as chief involved a heavy trial prac-
             tice, primarily in federal courts and often in conjunction with several states.

             During his ten years with the Antitrust Bureau, George’s notable cases included winning a $7.8
             million jury verdict in a highway bid rigging trial, serving as lead counsel for New York and obtain-
             ing a $30 million settlement in insurance antitrust litigation, and negotiating a $15 million return to
             consumers in a resale price maintenance settlement with Nintendo.

             George earned his bachelor’s degree in economics from Cornell University and graduated from New
             York University School of Law in 1977. A member of both the Washington and New York state
             bars, he sits on the Executive Committee of the Antitrust and Consumer Protection of the Washing-
             ton State Bar Association and frequently speaks on antitrust issues. George is admitted before the
             U.S. Supreme Court and numerous federal courts of appeal.




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             ANTHONY D. SHAPIRO
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             Tony joined Hagens Berman and now concentrates his practice on antitrust matters and personal
             injury cases in addition to securities and general commercial disputes. His personal injury practice
             includes cases of wrongful death, brain injury, and catastrophic personal injury matters resulting
             from medical malpractice, construction site, workplace and automobile accidents, as well as product
             liability.
             His work prosecuting plaintiffs’ claims against the Alyeska Pipeline Service Company resulting from
             the 1989 Exxon Valdez Oil Spill ultimately resulted in a $98 million settlement for plaintiffs.
             Notable antitrust class actions in which Tony has worked include Linerboard Antitrust Litigation,
             Brand Name Prescription Drug Antitrust Litigation, Carbon Dioxide Antitrust Litigation,
             Carpet Antitrust Litigation, Infant Formula Antitrust Litigation, Baby Food Antitrust Litiga-
             tion, Scouring Pads Antitrust Litigation, Medical X-Ray Film Antitrust Litigation, High
             Fructose Corn Syrup Antitrust Litigation, Visa/MasterCard Antitrust Litigation, Commercial
             Tissue Products Antitrust Litigation, Flat Glass Antitrust Litigation, Lease Oil Antitrust
             Litigation, and Bromine Antitrust Litigation.
             Prior to leading the Hagens Berman personal injury litigation practice, Tony honed his courtroom
             skills in the Washington state prosecuting attorney’s office, where he represented the state in more
             than 50 serious felony jury trials including some of the state’s most difficult and high-profile cases.
             Following his position at the prosecuting attorney’s office, Tony joined Schweppe Krug & Tausend,
             then Seattle’s oldest law firm, where he used his extensive courtroom experience to serve personal
             injury clients. He subsequently founded Rohan Goldfarb & Shapiro, a firm focusing on personal
             injury cases as well as commercial litigation and antitrust work.

             Very involved in issues concerning juvenile diabetes, Tony served as a board member of the Western
             Washington chapter of the Juvenile Diabetes Foundation for four years.
             Tony was given an AV rating by Martindale-Hubbell, the highest rating a lawyer can obtain, indicat-
             ing a very high to preeminent legal ability and exceptional ethical standards as established by confi-
             dential opinions from members of the Bar.
             Tony graduated from Colgate University with honors and earned his law degree from Georgetown
             University Law Center in 1982.

             THOMAS M. SOBOL
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             Email: tom@hagens-berman.com
             Tom leads Hagens Berman’s Boston office and joined the firm in June 2002. Focusing on complex
             civil litigation, he has represented consumers, injured persons and clients from many different
             industries, including injected molded plastics, x-ray inspection detection systems, health care,
             financial services, affordable housing and waste management and disposal. His extensive trial
             experience includes such wide ranging areas as tobacco, toxic torts, antitrust, intellectual property,
             industrial plant construction, housing finance and development, medical malpractice, civil rights, and
             white and blue criminal defense.
             Currently, Tom focuses on litigation seeking to remedy past overcharges for prescription drugs and
             make pharmaceuticals more accessible to all consumers. He serves as co-lead council in several
             lawsuits against major pharmaceutical companies, including Lupron Marketing and Sales Litiga-
             tion, Ciprofloxacin Hydrochloride Antitrust Litigation, Buspirone Antitrust Litigation, and



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                                   action verses the Schering-Plough Corporation for exploitation of direct to consumer advertising.
                                   Tom also served as the lead counsel and original participant in the Prescription Access Litigation
                                   (“PAL”) project, the largest coalition of healthcare advocacy groups to fight illegal, loophole-based
                                   overpricing by pharmaceutical companies. In other successes, Tom led Massachusetts’ $8.2 billion
                                   settlement in the Tobacco Litigation.
                                   Prior to Hagens Berman, Tom served as a partner at Lieff Cabraser Heimann & Bernstein LLP. He
                                   also served as judicial clerk for then-Chief Justice Allan M. Hale of the Massachusetts Appeals Court
                                   from 1983 to 1984.

                                   Tom sits as chairman of the board of the Vietnam Veterans Workshop, Inc. affiliated with the New
                                   England Shelter for Home Veterans (NESHV). A national model for homeless services, NESHV is
                                   one of the largest private organizations delivering services to homeless veteran families and other
                                   veterans in need. Tom also spends time as a member of the Board of Health Law Advocates, Inc.
                                   (HLA), a non-profit legal organization that assists in health access for the poor, alongside leaders in
                                   the Massachusetts healthcare community, including former Governor Michael Dukakis.
                                   Elected to Phi Beta Kappa in 1979, Tom graduated summa cum laude from Clark University in 1980.
                                   He graduated cum laude from Boston University School of Law in 1983. Named one of New
                                   England’s Top Ten Litigators by the National Law Journal, Tom remains a member of the bars of
                                   Massachusetts, Rhode Island and is admitted to the United States District Court for the Districts of
                                   Massachusetts and Rhode Island, as well as the United States Court of Appeals, First Circuit.

                                   JAMES P. SOLIMANO
                                   Direct Dial: (206) 224-9322
                                   Email: jim@hagens-berman.com
                                   Jim joined Hagens Berman to work on securities, class action, consumer fraud and complex litiga-
                                   tion.

                                   Currently, Jim represents a class of homeowners who suffered losses of their houses and properties in
Jim Solimano and Steve Berman
During Trial of Washington State   the second worst landslide in U.S. history in the Kelso Landslide Litigation. He also represents
Tobacco Case                       insureds in a certified class against State Farm over retroactive denial of PIP benefits and workers in
                                   the Denny’s wage and hour case. His securities litigation work has included representing investors
                                   in the Egghead, Intermec and Nordstrom Securities Litigations.
                                   Significant cases include representing plaintiff bond purchasers in the WPPSS Securities Litigation,
                                   the largest securities trial in U.S. history and serving as lead counsel for Chemical Bank for several
                                   cases including a $55 million recovery in “Cost Sharing Litigation.”
                                   In the Tobacco Litigation, Jim helped coordinate the firm’s work with expert witnesses in the areas
                                   of addiction, antitrust, causation, cigarette design, damages, epidemiology, ethics (business, legal and
                                   medical), Medicaid and youth marketing. His work included identifying areas of expert testimony,
                                   interviewing and retaining potential experts, assisting experts in the development of testimony,
                                   obtaining the material on which experts relied, assisting them in preparing reports, preparing them for
                                   deposition and trial testimony, coordinating expert discovery and preparing for cross-examination of
                                   defendants’ experts. He also worked extensively with consulting experts to collect and prepare the
                                   voluminous claims data used in the damage models. In addition, Jim participated extensively in the
                                   briefing and argument of the many pretrial dismissal, discovery, summary judgment and in limine
                                   motions. During the Washington trial, he prepared witnesses for direct testimony and cross-
                                   examination, as well as briefing on trial motions.

                                   After graduating from Franklin & Marshall College in 1979, Jim earned his law degree from the
                                   National Law Center at George Washington University. Jim has appeared in the Washington Su-



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             preme Court and Court of Appeals, the Ninth Circuit Court of Appeals and in many federal district
             courts throughout the country.

             CRAIG R. SPIEGEL
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             Craig focuses his practice on class actions primarily in employee litigation. Recent cases include
             actions against Abbott Laboratories, Burlington Northern Santa Fe Railway Company, BP Oil
             Supply and Boeing Race Litigation.
             Before joining Hagens Berman, Craig served as co-counsel for plaintiffs in numerous class actions.
             As lead counsel for several hundred investors who lost substantial sums of money from investments
             with Property Mortgage Company, he obtained an $8 million settlement. Craig also helped
             represent a class of investors that lost millions of dollars investing in the production of oil after the
             court certified a class based on his argument.

             In litigation with AT&T, Craig’s briefs and oral argument compelled the Ninth Circuit to reverse a
             summary judgment, obtaining a substantial sum for his client, a company that alleged that AT&T
             unlawfully changed its policies to drive the company out of business. In another notable case, Craig
             served as co-counsel for a family of three that was rendered homeless when a Santa Barbara busi-
             nessman towed away their trailer, claiming it was on his land, reselling the vehicle and most of their
             possessions. He helped obtain a jury verdict of $225,000 for the family, after another attorney had
             obtained a $15,000 non-binding judicial arbitration award.
             Craig graduated summa cum laude from St. Olaf College in 1975 and cum laude from Harvard Law
             School in 1979. Admitted to practice before several federal district and appellate courts, he is a
             member of the California, Illinois and Washington bars.

             JEFFREY T. SPRUNG
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             Joining Hagens Berman in 1994, Jeff focuses his practice on consumer class actions and ‘whistle-
             blower’ matters, primarily involving Medicare, Medicaid and defense contractor fraud. Currently, he
             works on the Boeing Gender Discrimination class actions that the firm is handling in four of
             Boeing’s five largest sites in the country. Other notable cases include the Compaq Computer
             Litigation, Fen/Phen Litigation and international human rights cases.

             Prior to joining the firm, Jeff served as an assistant U.S. attorney in the U.S. Attorney’s office in the
             District of Columbia, where he handled civil fraud and government enforcement actions. He won the
             first civil suit for mail, wire and bank fraud brought in the District of Columbia, as well as the first
             civil suit brought by the government to punish insider trading in the mortgage-backed securities
             market.

             Jeff graduated magna cum laude with his bachelor of arts from the University of Michigan in 1981
             and received his law degree from the University of Chicago Law School in 1984. Admitted to
             practice in Washington and the District of Columbia, he has appeared in numerous cases before
             United States district courts and courts of appeals.




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             ANDREW M. VOLK
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             Andrew joined the firm in 1996 to work on major class action cases and ERISA litigation. Exten-
             sively involved in the Tobacco Litigation, he wrote many of the major briefs on behalf of the states
             represented by Hagens Berman. In addition, he helped research and develop legal theories used in
             the action, as well as drafting and amending complaints. Andrew also headed the successful attack
             on defendants’ claims that millions of documents were privileged. As a result, Washington state
             gained access to key documents—long hidden by the tobacco companies—that supported the state’s
             allegations that the tobacco companies intentionally targeted children, intentionally hid their knowl-
             edge of the dangers of tobacco and lied to consumers and government regulators alike.

             Andrew currently works on ERISA cases for breach of fiduciary duties on behalf of current and
             former employees of Enron, IPALCO and the Montana Power Company; gender discrimination
             cases on behalf of Boeing employees at facilities in Kansas and Missouri; RICO cases on behalf of
             employees of IBP, Tyson Foods, Zirkle Fruit Co. and Matson Fruit Company; and the certified
             class action against UPS arising from its sale of Excess Value Insurance Coverage.

             Prior to joining Hagens Berman, Andrew taught legal writing and research at the University of
             Oregon School of Law. He also spent three years as a staff attorney at the Criminal Appeals Bureau
             of the Legal Aid Society in New York City.

             Andrew earned his undergraduate degree from Columbia University. He graduated cum laude from
             Cornell Law School in 1991 and served as an articles editor of the Cornell International Law Journal.
             He is admitted to practice in New York, Oregon and Washington.




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             Senior Lawyers
             ELIZABETH A. FEGAN
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             Beth joined Hagens Berman in 2004 with the opening of the new Chicago office.

             Before Hagens Berman, Elizabeth was a partner at The Wexler Firm LLP in Chicago. Her legal
             work consisted of finance lending discrimination lawsuits, pharmaceutical and antitrust litigation,
             civil rights charges and suits, and auditing and accounting malpractice litigation. She also served as
             legal writing instructor at the Loyola University Chicago School of Law.

             While previously practicing at Shefsky & Froelich, Ltd. in Chicago, Beth served in several local
             government appointments and on a special master team in federal and state court. The local govern-
             ment appointments included positions as special assistant corporation counsel to the city of Chicago,
             the Chicago Park District and to the Public Building Commission of Chicago. Her private work has
             included complex commercial litigation, antitrust, civil rights, fraud and consumer fraud, and con-
             tract actions.
             Beth received her law degree from Loyola University Chicago School of Law. While there, she was
             editor at large of the Loyola Law Journal in which she published "Home Rule Hits the Road in
             Illinois: American Telephone & Te

             TIMOTHY A. SCOTT
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             Tim joined Hagens Berman in 2004 with the opening of the new Chicago office.

             Prior to joining Hagens Berman, Tim practiced law at The Wexler Firm LLP in Chicago. His work
             included prosecuting complex class-action cases including antitrust, consumer fraud, securities, and
             ERISA litigation. Tim previously practiced at Skadden, Arps, Slate, Meagher & Flom in Chicago,
             where he represented corporate plaintiffs and defendants in complex class-action, mass tort, products
             liability, insurance, environmental, and commercial litigation in state and federal courts.
             Tim received a bachelor's in Sociology/Anthropology and Spanish from Knox College in Illinois, and
             earned his law degree from the Chicago-Kent College of Law.




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             The Associates
             IVY D. ARAI
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             Ivy joined Hagens Berman in 2002. Currently, her work focuses on the class action employment
             discrimination suits against The Boeing Company and the Tenet Healthcare case.
             Prior to joining Hagens Berman, Ivy primarily practiced employment and health care law. Addi-
             tionally, she participated in the King County Bar Association’s Homeless and Newcomers Project
             resolving wage claims for local low income and immigrant workers. During law school, Ivy worked
             as a judicial extern for Judge Thomas S. Zilly of the United States District Court for the Western
             District of Washington. Ivy also counseled low income and immigrant workers regarding employ-
             ment and labor issues as an extern for the D.C. Employment Justice Center.
             Her publications include “The Silent Significant Minority: Japanese-American Women Evacuation
             and Internment During World War II” found in Nicole Dombrowski’s book, Enlisted With or With-
             out Consent: Women and War in the 20th Century.
             Ivy graduated cum laude from Princeton University in 1997 with a bachelor of arts in American
             history and a certificate in African-American studies. She earned her law degree from Georgetown
             University Law Center in 2000 where she served on the Georgetown International Environmental
             Law Review. She is admitted to practice law in the state of Washington.

             JAY CARLSON
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             In 2004, Jay joined Hagens Berman to focus on complex antitrust, securities and consumer class
             actions. Jay is currently focusing on the A.C. Nielsen Litigation and the NCAA Antitrust Litiga-
             tion.

             With significant experience in complex commercial and municipal litigation, Jay has also success-
             fully litigated cases involving environmental regulation and enforcement, the Federal Telecommuni-
             cations Act, trademark infringement and unfair competition, consumer protection, election disputes
             and real estate/construction issues.

             Prior to entering private practice, Jay served as a law clerk for Judge Thomas S. Zilly of the U.S.
             District Court for the Western District of Washington. His experience also includes extensive social
             service work in non-profit and state-funded program administration.

             In addition to serving as the executive articles editor for the Washington Law Review, Jay published
             articles on interest on lawyer trust accounts (IOLTA) in both the Washington Law Review and The
             Trial News. His many honors include winning the Lewis Powell Medal for Excellence in Trial
             Advocacy from the National Academy of Trial Lawyers, earning the title of Trial Advocate of the
             Year from the International Academy of Trial Lawyers and being named Moot Court Honor Board
             Champion from the Western Regional Mock Trial Tournament.

             Jay earned a bachelor’s degree in social sciences from the University of Washington in 1992, gradu-
             ating with honors from the University of Washington School of Law in 2000. He is admitted to
             practice in U.S. District Court for the Western District of Washington, as well as in the Ninth Circuit
             Court of Appeals.




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             ROBERT GAUDET
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             Rob joined Hagens Berman in 2002 to focus on class action litigation.

             Prior to law school, Rob worked for the U.S. Department of Justice, Civil Rights Division Criminal
             Section where he coordinated with lawyers and FBI agents on police brutality, racial violence, and
             peonage issues. He also interned for the Democratic National Committee Office of Latino Affairs,
             Congressman Xavier Becerra and the White House Office of Public Liaison. Before commencing his
             internships, Rob lived overseas working as the primary editor for an Estonian magazine, The Baltic
             Review: Business Magazine of the Baltic States.

             Rob’s honors and experiences also include winning a Rotary Club of Israel scholarship to complete a
             graduate year program at the Hebrew University of Jerusalem, co-founding the first student group of
             Habitat for Humanity in Great Britain, and working for the Wits/Vaal Regional Peace Secretariat in
             South Africa under a Columbia College Human Rights Scholarship.
             Rob graduated from Stanford Law School in 2002 where he served as a staff columnist for The
             Stanford Daily. In 1999, Rob earned his master of studies in religion from the University of Oxford
             and received a post-graduate diploma in theology in 2001 from the university’s Trinity College for
             studies in the Old Testament, the New Testament and Christian Moral Reasoning. He earned his
             bachelor’s degree in political science from Columbia University in 1994 with a minor in psychology.

             AMANDA L. HORN
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             In 2000, Amanda joined the firm’s Los Angeles office to practice consumer class action and wage
             and hour litigation.

             Prior to joining Hagens Berman, Amanda served as a clerk with the now Oregon Court of Appeals
             Judge David V. Brewer, while he sat as circuit court judge for the Second Judicial District in Eugene,
             Oregon. Amanda also worked as in-house counsel for Safeco Insurance Company, representing its
             insured clients throughout Southern Oregon in a variety of civil tort litigation. While still in law
             school, Amanda maintained a clerkship with the Oregon State Department of Justice in the Human
             Services Division and spent several years working with Gilardi & Co., class action administration
             specialists, before pursuing her law degree.

             Honors include winning a national writing competition and having her paper published in Sover-
             eignty Symposium X, Circles of Life.

             Amanda earned her bachelor’s degree in anthropology from U.C.L.A. in 1991 and her law degree
             from Willamette University College of Law in 1998. Amanda is admitted to practice law in Oregon
             and California.

             STEPHANIE LEVIN BOZZO
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             Stephanie joined the firm’s Phoenix office in 1998 to focus on consumer, product, employment and
             labor class action litigation. Her recent cases include extensive work on the Tobacco Litigation,
             labor compensation disputes, computer software defect litigation, deceptive trade practice litigation,
             as well as cases involving single-state, multi-state and nationwide class actions pending in jurisdic-
             tions across the country.


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             Prior to joining Hagens Berman, Stephanie clerked for the in-house counsel of Emmis Communica-
             tion Corporation, an international multimedia corporation. During law school, Stephanie worked in
             the area of commercial litigation for one of Indiana’s premier bankruptcy and commercial collection
             firms and studied international law at the University of Innsbruck, Austria.

             Stephanie earned her bachelor’s degree from University of Arizona in 1994 and her law degree from
             Indiana University-Indianapolis in 1997. She is admitted to practice in Arizona and the U.S. District
             Court for the District of Arizona.

             HUGH E. MCNEELY
             Direct Dial: (617) 475-1961
             Email: hugh@hagens-berman.com
             Hugh joined Hagens Berman's Boston office in 2004. He brings more than 25 years of litigation
             experience to the firm.

             Prior to joining Hagens Berman, Hugh was Of Counsel to Simien & Simien in Baton Rouge, La.
             While there, he focused on medical malpractice, class-action and mass tort cases. Previously, Hugh
             was a solo practitioner with a focus on tobacco-related litigation. Prior to his solo practice, he was
             appointed Of Counsel to Provost Umphrey in Beaumont, Texas, where he served as coordinating
             attorney and liaison counsel to the state of Texas in its suit against major tobacco companies. His
             guidance was integral to the state's $17.3 billion settlement with the tobacco companies.

             Hugh also served as Of Counsel to Baggett McCall & Burgess in Lake Charles, La. While there, he
             worked exclusively on the Castano class action and other tobacco-related cases. Previously, Hugh
             held associate positions at Plauche Smith & Nieset and Roy Forrest & Lopresto - insurance defense
             law firms in Louisiana. He also enjoyed several years as an independent practitioner where his
             practice emphasized personal injury and appellate work.
             Hugh received his bachelors in political science from Louisiana State University. After attending the
             University of San Diego School of International and Comparative Law in Paris, France for one year,
             he received his law degree from Louisiana State University Law Center in Baton Rouge, La.
             Hugh is admitted to practice law in the state of Louisiana and in the eastern district of Texas.

             EDWARD NOTARGIACOMO
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             Email: ed@hagens-berman.com
             In 2002, Ed joined Hagens Berman’s Boston office to focus on complex consumer, commercial and
             antitrust litigation class actions. Ed’s recent cases include the AWP Litigation and other class action
             suits aimed at pharmaceutical companies who illegally attempt to deny market access to manufactur-
             ers of cheaper generic pharmaceuticals.

             His extensive experience in complex cases includes consumer class actions against predatory lenders
             and employment litigation against a major retail chain, as well as intense involvement in high-profile
             impact litigation against cigarette manufacturers, the firearms industry and pharmaceutical manufac-
             turers. Before joining the firm, Ed served as special assistant attorney general for Massachusetts in
             its suit against the tobacco industry. He played a major role in discovery in that case, including the
             defense of more than 45 depositions of state agency employees and led the effort to marshal docu-
             ments and exhibits in preparation for trial. Ed also helped represent Rhode Island, New Hampshire
             and Maine in their suits against the tobacco industry. In another case, Ed represented the city of
             Boston in its suit against gun manufacturers and distributors in order to force them to take responsi-




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             bility for some of the violence perpetrated with firearms, negligently and often illegally distributed in
             cities like Boston.
             Ed received his bachelor’s degree from Brown University in 1989, earning his juris doctor with
             honors from Boston University in 1994 where he served on the Boston University Public Interest
             Law Review. Ed is admitted to practice in Massachusetts and in the U.S. District Court for the
             District of Massachusetts.

             DIEGO RODRIGUEZ
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             Diego joined Hagens Berman’s Phoenix office in 2004. He brings to the firm several years of civil
             trial experience. Prior to joining Hagens Berman, Diego practiced law at Goldberg & Osborne in
             Tucson, Ariz. His practice consisted of personal injury, product liability and wrongful death litiga-
             tion. Diego previously served as the deputy county attorney for the criminal division of the Pima
             County, Ariz. Attorney’s Office. During his four years there he prosecuted numerous misdemeanor,
             vehicular offense, property crime, child abuse, and first-degree homicide cases. Diego further culti-
             vated broad litigation expertise in insurance defense, construction defect, toxic torts, insurance
             coverage, general business, and automobile product liability while practicing at Gust Rosenfield,
             P.C.; Snell & Wilmer; and The Hameroff Law Firm, all in Arizona.

             Diego graduated from the University of Notre Dame in 1992, with a bachelors in finance, and
             received his law degree from the University of Arizona in 1995. He is admitted to practice in the state
             of Arizona.

             NICHOLAS STYANT-BROWNE
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             Nick joined Hagens Berman in 2001 to practice class action and multi-plaintiff litigation. Recent
             projects include Rio Tinto Litigation for human rights and environmental abuses in respect of the
             Panguna mine on the Pacific island of Bougainville.

             Before joining the firm, Nick was one of five senior partners at Australia’s largest plaintiff law firm
             working on class actions, environmental litigation and antitrust litigation. He served as co-counsel
             on Australia’s largest class action against a wholly owned subsidiary of Exxon arising out of a gas
             plant explosion which shut down the gas supply to Melbourne and most of the State of Victoria for
             10 days. As lead counsel in a landmark case against BHP (now BHP Billiton), Nick helped force
             mining companies adopt stricter environmental standards in developing countries through this case
             outlining the environmental devastation caused by the Ok Tedi mine in Papua New Guinea. Nick
             also served as lead counsel at the trial against Australia’s major newspaper publishers, including
             News, which resulted in the deregulation of the system of distribution of newspapers and magazines
             throughout Australia.

             His practice has involved several projects in the Pacific Rim acting principally on behalf of the
             indigenous peoples of poor developing Pacific nations claiming environmental and human rights
             abuses. Nick’s successes and passion for the causes of indigenous peoples against exploitative
             resource companies have led to him being retained by the national governments of Pacific States
             including Tuvalu and the Kingdom of Tonga. More recently, the Republic of Hungary retained him
             to claim compensation against an Australian mining company, which leaked huge amounts of
             cyanide from its tailings dam devastating the river systems of Western Europe.




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             In 2001, Brent joined Hagens Berman to practice environmental, consumer, and other class action
             litigation. He is currently focused on the Rio Tinto, Gold Train and Idaho Grass Burning matters.
             Prior to joining the firm, he represented plaintiffs in a variety of complex cases including toxic tort
             litigation, consumer class actions against cellular telephone companies, major Clean Water Act
             litigation in Louisiana, and the I-695 litigation in Washington state. Additionally, Brent served as
             special environmental counsel to Indian Tribes, worked for the Legal Resources Centre in South
             Africa providing legal advice to township residents and assisting in public interest litigation, and
             represented the nation’s commercial fishermen by writing a brief filed with the United States Su-
             preme Court.

             In 2000, 2001 and 2003, Washington Law & Politics identified Brent as a rising star in the legal
             profession. In 2002 and 2003, Washington Law & Politics named Brent a “Super Lawyer.”
             His many publications include “United States v. Locke: The Supreme Court Preempts States Ability
             to Protect Their Navigable Waters and Marine Resources from Oil Tanker Spills” in the Journal of
             Environmental Law & Litigation; “Ellickson’s Paradox: It’s Suicide to Maximize Welfare” in the
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             Review; “TMDLs May Require Changes by Nonpoint Polluters” in the Daily Journal of Commerce;
             and “Into the Breach: Restoring Rivers, Relicensing Dams” in the Daily Journal of Commerce.

             In 1990, Brent received his bachelor’s degree from Reed College, and he received his law degree
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             References
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             A Perspective on our Performance from
             the Bench
             Perhaps one of the most telling references comes from the concluding comments of the Judge presid-
             ing over the State of Oregon’s case against Big Tobacco.

                      MR. BERMAN: Nothing further, Your Honor.

                      THE COURT: Anything else for the record? Well, may I take just a couple more minutes
                      of your time to say this has been an extraordinary experience from my perspective. We have
                      a lot of emphasis in our profession these days about people complaining that lawyers are
                      not professional, that they are not civil, they do things in the manner in which they practice
                      that discredits the profession, and I wish those critics could have seen all of you in action.
                      This has been an extraordinary experience from my perspective. I cannot conceive of an-
                      other case where there has been so much at stake, and all of you, from the outsiders to local
                      counsel, have been extraordinarily responsible to resolve as much as you could and to bring
                      to me only the issues that really needed rulings. I cannot tell you how much I appreciate all
                      of your work in that regard, and I know that that was you, as individuals, doing the impor-
                      tant thing because in a case of this magnitude, with local and regional and national and in-
                      ternational levels of attorneys, it’s very hard to connect with people.

                      I just hope some time before I stop during this wonderful year, I have another chance to see
                      this kind of lawyering. It’s been stunning, and I really want to say that it’s been a wonder-
                      ful experience.

                      So, Hallelujah.




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